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Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of
Classes of Claims and Existing Interests. A Claim or Existing Interest is placed in a particular
Class for the purpose of receiving distributions pursuant to the Plan only to the extent that
such Claim or Existing Interest has not been paid, released, withdrawn or otherwise settled
before the Effective Date. The categories of Claims and Existing Interests set forth below
classify all Claims against and Existing Interests in the Debtor for all purposes of this Plan. A
Claim or Existing Interest shall be deemed classified in a particular Class only to the extent
the Claim or Existing Interest qualifies within the description of that Class and shall be
deemed classified in a different Class to the extent that any remainder of such Claim or
Existing Interest qualifies within the description of such different Class. The treatment with
respect to each Class of Claims and Existing Interests provided for in this Article IIT shall be
in full and complete satisfaction, release and discharge of such Claims and Existing Interests.

 

 

 

 

 

Class Designation Impairment Entitled to Vote
Class | Priority Non-Tax Claims Unimpaired No (deemed to accept)
Class 2 Existing Loan Claims Impaired Yes (deemedwill vote to

accept)
Class 3 General Unsecured Claims Unimpaired No (deemed to accept)
Class 4 Existing Interests Impaired Yes-(deemed-to-accept}

 

 

 

 

 

 

B. Treatment of Claims and Interests
1. Class 1 - Priority Non-Tax Claims.

1. Impairment and Voting. Class | is Unimpaired by the Plan. Each holder of an
Allowed Priority Non-Tax Claim shall be conclusively deemed to have accepted the Plan.
The Plan Proponents do not believe there are any Allowed Priority Non-Tax Claims.

2. Distribution. On the Effective Date, or as soon as reasonably practicable
thereafter, unless the holder of a Priority Non-Tax Claim and the Plan Proponents agree to
different treatment, each holder of an Allowed Priority Non-Tax Claim shall have its Claim
Reinstated or paid in full in cash.

2. Class 2 — Existing Loan Claims.
1. Impairment and Voting. Class 2 is Impaired by the Plan. Lapidem and Mascini
aresupport the Plan and will be deemed to accept the Plan_on account of their Existing Loans

without the need for formally casting a ballot in favor of the Plan. Lapidem’s Existing Loan
Claims are Allowed Claims in the total amount of no less than (i) $112,023,399 million and

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(ii) €16,596,240. Mascini’s Existing Loan Claims are Allowed Claims in the amount of no
less than (i) $168,031,600 million and (ii) €24,894,360.

2. DistributionDistributions. On the Effective Date, or as soon as reasonably
practicable thereafter, each of Lapidem and Mascini shall receive in satisfaction of all Allowed
Existing Loan Claims, upon their joint election exercised in their sole discretion, each of their
pro rata shares of and interests in either: (i) if there is a Transaction acceptable to Lapidem
and Mascini in their sole discretion, the Transaction Proceeds after payment in full of all
Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Priority Non-Tax
Claims, and Allowed General Unsecured Claims until the Allowed Existing Loan Claims are
paid in full; or (ii) if there is no Transaction acceptable to Lapidem and Mascini in their sole
discretion, the Modified Loans plus all New Class A-1 Shares, provided however, that if the
Plan Support Conditions are satisfied, Mr. Lynch shall receive the New Class A-2 Share.

3, Class 3 — General Unsecured Claims.

1. Impairment and Voting. Class 3 is Unimpaired by the Plan. Each holder of an
Allowed General Unsecured Claim shall be conclusively deemed to have accepted the Plan.

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2. Distributions. On the Effective Date, or as soon as reasonably practicable
thereafter, except to the extent that the holder of a General Unsecured Claim and the Plan
Proponents agree to a different treatment, each holder of an Allowed General Unsecured
Claim shall be paid in full either from the Transaction Proceeds or proceeds from the New
Money Loan.

4, Class 4 — Existing Interests.

1. Impairment and Voting. Class 4 is Impaired_by the Plan. Lapidem and Mascini
aresupport the Plan and will be deemed to accept the Plan on account of their Existing
Interests:—Aceordingly,-Class-l-is-cleemedto-aceept without the need for formally casting a

 

Plan on account of his Existing Interest.
2. Distributions.

1. In the event Lapidem and Mascini elect to consummate a Transaction,
holders of Existing Interests shall receive all Transaction Proceeds remaining, if any,
after payment in full of all Allowed Administrative Claims, Allowed Priority Non-Tax
Claims, Allowed Priority Tax Claims, Allowed General Unsecured Claims, and
Allowed Existing Loan Claims. Lapidem and Mascini shall receive, on account of
their Existing Interests, their pro rata share of 90% of such remaining Transaction
Proceeds based on their pro rata shares of Existing Loans as of the Effective Date, and
Stephen Lynch shall receive, on account of his Existing Interests, 10% of such

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remaining Transaction Proceeds, with such distributions to Lapidem, Mascini and
Stephen Lynch adjusted to reflect the Lynch Net Gain Sale Agreement.

il. In the event Lapidem and Mascini elect not to consummate a
Transaction and elect instead to receive the Modified Loans and the New Class A-1
Shares in satisfaction of their Allowed Existing Loan Claims, then no holder of
Existing Interests shall receive or retain any property on account of such Existing
Interests under the Plan, and all such Existing Interests shall be cancelled, and of no
further force or effect, provided however, that if the Plan Support Conditions are
satisfied, Mr. Lynch shall receive the New Class A-2 Share.

C. Special Provision Governing Unimpaired Claims

Except as otherwise provided in the Plan, nothing under the Plan will affect the Plan
Proponents’ or the Debtor’s rights in respect of any Unimpaired Claims, including, without
limitation, all rights in respect of legal and equitable defenses to or setoffs or recoupments
against any such Unimpaired Claims, including the right to Cure any arrearages or defaults
that may exist with respect to contracts to be assumed under the Plan.

D.. Special Provision Governing Executory Contracts

Any Allowed Claims arising from the rejection of the Debtor’s Executory Contracts,
including termination or rejection of the SHA, shall share pari passu_in any distributions made
under Article IULB.2 of the Plan other than the New Class A-1 Shares. The Plan Proponents
do not believe there are any such Claims. All such Claims are Disputed Claims. The Plan
Proponents reserve the right to_assert that any such Claims asserted with respect to the SHA
shall be subordinated pursuant_to Section 5!0(b) of the Bankruptcy Code.

BE. Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

The Plan Proponents shall seek Confirmation of the Plan pursuant to section 1129(b)
of the Bankruptcy Code with respect to any rejecting Classes of Claims and Existing Interests.
The Plan Proponents reserve the right to modify the Plan in accordance with Article X hereof
to the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code
requires modification.

ARTICLE IV

MEANS FOR IMPLEMENTATION OF THE PLAN

A. Transaction Process

In an effort to explore all reasonable alternatives for maximizing the value of the
Debtor’s Estate, the Plan Proponents shall pursue the Transaction Process in order to identify
one or more Transactions, if any, for the direct or indirect disposition of the Debtor’s assets,
including possible resolution of the Yukos Finance Litigation or sale of the participation

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interests in PNS. On or before the Plan Supplement Date, the Plan Proponents or their
designees shall file a statement with the Bankruptcy Court, which may include one or more
affidavits, summarizing actions taken in connection with the Transaction Process. If any such
Transactions are identified, developed and negotiated to Lapidem’s and Mascini’s satisfaction,
as determined by them in their sole discretion, they shall also file with the Bankruptcy Court
on the Plan Supplement Date any Purchase Agreement or other documentation evidencing
such Transactions. Lapidem and Mascini will seek approval of any such proposed
Transactions at the Confirmation Hearing, with such Transactions to be implemented under the
Plan. If Lapidem and Mascini choose not to pursue any Transaction, as determined by them
in their sole discretion, then they shall elect to receive the Modified Loans, and shall so state
in the statement they file with the Bankruptcy Court on the Plan Supplement Date. The Plan
Proponents will offer to provide periodic updates to Stephen Lynch and his counsel on the
Transaction Process, and will solicit their input as the Transaction Process progresses.

B. Implementation of Transactions

In the event the Bankruptcy Court approves one or more Transactions — that
contemplates a sale of the Debtor’s ownership interests in the participation interests in PNS,
the Confirmation Order shall direct each manager of the Debtor to pass a resolution by the
Effective Date authorizing and directing the Debtor to (A) enter into a power of attorney (the
“Power of Attorney”) delegating powers to enter into a Purchase Agreement on behalf of the
Debtor to a person nominated by the board of managers and enter into such other documents
as may be legally required to evidence such transfer; (B) enter into the Purchase Agreement,
as transferor, with the purchaser thereunder, as transferee, evidencing the transfer and vesting
of the purchased assets in the purchaser; and (C)(X) execute the Purchase Agreement before a
notary public in the Russian Federation and (Y) submit the Purchase Agreement, the Power of
Attorney and such other papers as may be necessary before a notary public in the Russian
Federation in connection with the submission of any necessary papers (by the notary public or
otherwise) to the competent Russian tax or other authorities and the making of any necessary
entry in the Unified State Register of Legal Entities in accordance with Article 21 of the
Russian Federal Law No. 14-FZ on Limited Liability Companies, dated 8 February 1998 (as
amended) (the “Russian LLC Law”). To the extent Stephen Lynch is the general director of
PNS at the time when theany transfer of the participation interests in PNS is effected pursuant
to theany Purchase Agreement, he shall amend or shall procure the amendment by PNS’
responsible officer of, the list of PNS’ participants maintained by PNS in accordance with
Article 31.1 of the Russian LLC Law to reflect the purchaser under the Purchase Agreement
as the owner of the participation interests in PNS.

C.. Cancellation Of Existing Shares: Issuance Of New Shares

Except as otherwise specifically provided for in the Plan, on the Effective Date, all
instruments, certificates, agreements and documents evidencing the Existing Interests in the
Debtor shall be cancelled, and the obligations of the Debtor thereunder and in any way related
thereto shall be fully satisfied, released _and discharged. On the Effective Date or as.soon
thereafter as practicable, the Reorganized Debtor_shall issue or cause to be issued (4) the New

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Class A-1 Shares to the Plan Proponents, (ii) if the Plan Support Conditions are satisfied, the
New Class A-2 Share to Stephen Lynch, and (iii) the New Class B-1 Shares to the New
Money Participants. All such New Class A-| Shares, the New Class A-2 Share, and the New
Class B-1 Shares shall be duly authorized, validly issued, fully paid and non-assessable. The
Amended Kirwan Governance Documents will provide for the issuance of the New Class A-]
Shares. the New Class A-2 Share if the Plan Support Obligations are satisfied, and the New
Class B-1 Shares, with all of such Shares to have the same voting rights.

ED. Post-Effective Date Governance

1. Governance of the Reorganized Debtor

The SHA shall be deemed terminated no later than the Effective Date by operation of
§§ 1.9, 1.11 and 23.1 thereof and/or rejected pursuant to Article V_of the Plan in the Plan
Proponents’ sole discretion. Governance of the Reorganized Debtor shall be as provided for
in the Amended Kirwan Governance Documents. Such Documents will provide for a board of
managers comprised of between three and five members, all of whom shall be selected by the
Plan Proponents in their sole discretion, with the number of such members also determined by
the Plan Proponents in their sole discretion, with such board members vested with exclusive
authority to make all decisions on the Reorganized Debtor's behalf, except as otherwise
directed by Lapidem and Mascini. The names of the initial members of the board of
managers of Reorganized Kirwan shall be included in the Plan Supplement. Stephen Lynch
shall be entitled to serve as board observer so long as the Plan Support Conditions are
satisfied, The Amended Kirwan Governance Documents shall otherwise comply with
Luxembourg and any other applicable law. All persons who serve as managers of the Debtor
as of the Effective Date shall be deemed to resign as of such date. All such persons are
directed to deliver such forms of resignation and any other related documents as may be
necessary to evidence such resignation under Luxembourg law and any other applicable law.
All managers of the Debtor and holders of Existing Interests are authorized and directed to
execute such documents as are necessary under Luxembourg law, including the Board and
Shareholder Circulars, to approve the Amended Kirwan Governance Documents and issuance
of the New Class A-1 Shares, the New Class A-2 Share and New Class B-1! Shares.

2. Governance of PNS

The Confirmation Order shall direct (i) the board of managers of the Debtor and_the

Reorganized Debtor or, alternatively, (ii) if a Transaction is approved resulting in a third
party’s acquisition of the participation interests in PNS, such third-party, (A) to pass such
resolutions and to cause any such changes to PNS’s governing documents in each case as are
necessary in order to vest sole and exclusive control of PNS in the Reorganized Debtor or
such third-party, as appropriate; (B) to cause the removal of Stephen Lynch as PNS’s general
director and appointment of such other person as PNS’s general director as the Reorganized

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Debtor or such third-party acquirer determines in its sole discretion, including such actions as
may be necessary for the submission of any necessary papers to comply with the Russian LLC
Law and other applicable law in the Russian Federation, and (C) to cause PNS to replace
Stephen Lynch as provisional director of Yukos Finance. The Confirmation Order shall
further direct Stephen Lynch to facilitate control of PNS by undertaking the PNS Transition
Matters.

DE. New Money Loan; Post-Effective Date Loans

The Debtor shall implement the New Money Loan Offering by offering to sell New
Money Loan Participations and New Class B-1 Shares to the New Money Loan Participants.
The deadline for New Money Loan Participants to subscribe to New Money Loan
Participations shall be #ve-days-before-the Plan Supplement Date, provided however, that the
Plan Proponents may determine in their sole discretion not to consummate the New Money
Loan Offering. After the Effective Date, the Plan Proponents shall have the exclusive right in
their sole discretion to make Post-Effective Date Loans to the Reorganized Debtor without
approval of the Bankruptcy Court.

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EE. Plan Support Conditions

As a condition to Mr. Lynch (1) participating in the New Money Loan Offering and
any future distributions contemplated by Article IU.B.4 of the Plan; (2) participating in the
governance of the Reorganized Debtor as contemplated by Article IV.C.1; and (3) receiving a
release by the Plan Proponents and the Reorganized Debtor of the Lynch Causes of Action,
Stephen Lynch (i) must not object, directly or indirectly, to the Plan or take any actions
inconsistent with, or that would delay approval or confirmation of, the Plan or any
Transaction; (ii) must not, directly or indirectly, seek or support or encourage or join with any
other Person or entity in seeking to challenge, to disallow, subordinate or limit, in any respect,
as applicable, the enforceability, priority, amount or validity of the Existing Loans, (iii) must
not, directly or indirectly, propose, support, seek, solicit, participate in or encourage any
negotiations regarding any other plan of reorganization, scheme of arrangement, sale, proposal,
dissolution, consolidation, joint venture, winding up, liquidation, reorganization, merger,
amalgamation or restructuring of the Debtor or PNS or the disposition of the Yukos Finance
Litigation, whether directly or indirectly; (iv) must use commercially reasonable efforts to
promptly notify the Plan Proponents upon the receipt of any written solicitation or proposal
relating to any other plan, scheme of arrangement, sale, proposal, dissolution, consolidation,
joint venture, winding up, liquidation, reorganization, merger, amalgamation or restructuring of
the Debtor or PNS or the disposition of the Yukos Finance Litigation; (v) must use
commercially reasonable efforts in exercising any powers or rights available to him in favor of
any matter requiring approval of the Plan, including by filing pleadings in respect thereof in
any court or tribunal and before any Governmental Authority; (vi) must not file any Proof of
Claim or assert any Claim of any kind against another Person, and (vil) must provide the
Lynch Release, which shall grant full and unconditional releases to all parties to the SHA in a
form acceptable to the Plan Proponents, for any and all Claims arising out of or in connection
with the SHA or otherwise arising out of or in connection with his Existing Interests in the
Debtor.

&G. Restructuring Transactions

On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized
Debtor may take all actions as may be necessary or appropriate to effect any transaction
described in, approved by, contemplated by or necessary to effectuate the Plan, including: (1)
the execution and delivery of appropriate agreements or other documents of merger,
consolidation, restructuring, conversion, disposition, transfer, dissolution or liquidation
containing terms that are consistent with the terms of the Plan and that satisfy the
requirements of applicable law and any other terms to which the applicable Persons may
agree; (2) the execution and delivery of appropriate instruments of transfer, assignment,
assumption or delegation of any asset, property, right, liability, debt or obligation on terms
consistent with the terms of the Plan and having other terms for which the applicable Persons
agree; (3) the filing of appropriate certificates or articles of incorporation or amendments
thereof, reincorporation, merger, consolidation, conversion or dissolution pursuant to

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applicable law; and (4) all other actions that the applicable Persons determine to be necessary
or appropriate, including making filings or recordings that may be required by applicable law.

GH. Corporate Action

Upon the Effective Date, all actions contemplated by the Plan shall be deemed
authorized and approved in all respects, including all actions contemplated by the Plan,
whether to occur before, on or after the Effective Date. All matters provided for in the Plan
involving the corporate structure of the Debtor or the Reorganized Debtor, and any corporate
action required by the Debtor or the Reorganized Debtor in connection with the Plan, shall be
deemed to have occurred and shall be in effect, without any requirement of further action by
the shareholders or managers of the Debtor or the Reorganized Debtor. On or (as applicable)
before the Effective Date, the appropriate managers of the Debtor or the Reorganized Debtor,
as applicable, shall be authorized and directed to issue, execute and deliver the agreements,
documents, securities, certificates of incorporation, operating agreements and instruments
contemplated by the Plan (or necessary or desirable to effect the transactions contemplated by
the Plan) in the name of and on behalf of the Reorganized Debtor. The authorizations and
approvals contemplated by this Article IV shall be effective notwithstanding any requirements
under non-bankruptcy law.

HI. Effectuating Documents; Further Transactions

On and after the Effective Date, the Reorganized Debtor and the officers and members
of the board of managers thereof are authorized to issue, execute, deliver, file or record such
contracts, securities, instruments, releases and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement and further evidence the
terms and conditions of the Plan in the name of and on behalf of the Reorganized Debtor,
without the need for any approvals, authorization or consents except for those expressly
required pursuant to the Plan.

iJ. Securities Exemption

The New Class A-1 Shares and the New Class A-2 Share will be exempt from
registration pursuant to section 1145 of the Bankruptcy Code. The New Class B-1 Shares will
be exempt from registration pursuant to section 1145 of the Bankruptcy Code to the extent
permitted or under the Securities Act by virtue of Section 4(a)(2) thereof and Regulation D
promulgated thereunder or other applicable non-bankruptcy law.-Section- 1446

Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property in
contemplation of, in connection with, or pursuant to the Plan shall not be subject to any stamp
tax or other similar tax or governmental assessment in the United States, and the Confirmation
Order shall direct and be deemed to direct the appropriate state or local governmental officials
or agents to forgo the collection of any such tax or governmental assessment and to accept for

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filing and recordation instruments or other documents pursuant to such transfers of property
without the payment of any such tax or governmental assessment. Such exemption
specifically applies, without limitation, to (1) the creation of any mortgage, deed of trust, lien
or other security interest; (2) the making or assignment of any lease or sublease; (3) any
restructuring transaction authorized by Article TV hereof; and (4) the making or delivery of
any deed or other instrument of transfer under, in furtherance of or in connection with the
Plan, including: (a) any merger agreements; (b) agreements of consolidation, restructuring,
disposition, liquidation or dissolution; (c) deeds; or (d) assignments executed in connection
with any transaction occurring under the Plan.

dL. Preservation of Causes of Action

In accordance with section 1123(b) of the Bankruptcy Code, and except where such
Causes of Action have been expressly released, including the Lynch Causes of Action if the
Plan Support Obligations are satisfied, the Reorganized Debtor shall retain and may enforce all
rights to commence and pursue, as appropriate, any and all Causes of Action, including the
Lynch Causes of Action, whether arising before or after the Petition Date, and the
Reorganized Debtor’s rights to commence, prosecute or settle such Causes of Action shall be
preserved notwithstanding the occurrence of the Effective Date. The Reorganized Debtor may
pursue such Causes of Action, as appropriate, in accordance with the best interests of the
Reorganized Debtor. No Person may rely on the absence of a specific reference in the Plan to
any Cause of Action against them as any indication that the Debtor or Reorganized Debtor, as
applicable, will not pursue any and all available Causes of Action against them. Except with
respect to Causes of Action as to which the Debtor or Reorganized Debtor have released any
Person on or before the Effective Date (including pursuant to the releases by the Debtor or
otherwise), the Debtor or Reorganized Debtor, as applicable, expressly reserve all rights to
prosecute any and all Causes of Action against any Person, except as otherwise expressly
provided in the Plan. Unless any Causes of Action against a Person are expressly waived,
relinquished, exculpated, released, compromised or settled in the Plan or a Bankruptcy Court
order, the Reorganized Debtor expressly reserves all Causes of Action, for later adjudication,
and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral
estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise) or
laches, shall apply to such Causes of Action upon, after or as a consequence of the
Confirmation or consummation of the Plan.

ARTICLE V
TREATMENT OF EXECUTORY CONTRACTS
A. Disposition of Executory Contracts

The Confirmation Order shall provide that the SHA shall be deemed terminated no
later than the Effective Date by operation of §§ 1.9, 1.11 and 23.1 thereof. In the absence of
any such determination, in the Plan Proponents’ discretion, the SHA and every other
Executory Contract, except for any engagement letter or fee agreement with any professional,

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shall be deemed rejected as of the Effective Date. All engagement letters and fee agreements
shall be assumed except as otherwise provided in connection with any Transaction. ‘The Plan
Proponents do not believe the Debtor is party to any Executory Contract other than the SHA
and engagement letters and fee agreements with professionals. Entry of the Confirmation
Order shall constitute a Bankruptcy Court order approving the assumptions or rejections of
such Executory Contracts, all pursuant to sections 365(a) and 1123 of the Bankruptcy Code.

Unless otherwise indicated, all assumptions or rejections of Executory Contracts pursuant to
the Plan are effective as of the Effective Date.

All assumed Executory Contracts shall remain in full force and effect for the benefit of
the Reorganized Debtor, and be enforceable by the Reorganized Debtor in accordance with
their terms, notwithstanding any provision in such assumed Executory Contract that prohibits,
restricts or conditions such assumption, assignment or transfer. Any provision in the assumed
Executory Contracts that purports to declare a breach or default based in whole or in part on
commencement or continuance of this Chapter 11 Case or any successor cases is hereby
deemed unenforceable. To the extent any provision in any Executory Contract assumed
pursuant to the Plan (including, without limitation, any “change of control” provision) restricts
or prevents, or purports to restrict or prevent, or is breached or deemed breached by, the
Reorganized Debtor’s assumption of such Executory Contract, then such provision will be
deemed modified such that the transactions contemplated by the Plan will not entitle the non-
debtor party thereto to terminate such Executory Contract or to exercise any other default-
related rights with respect thereto. Each Executory Contract assumed pursuant to the Plan or
by Bankruptcy Court order shall re-vest in and be fully enforceable by the Reorganized Debtor
in accordance with its terms, except as such terms may have been modified by such order or
by applicable law. Notwithstanding anything to the contrary in the Plan, the Plan Proponents,
the Debtor or the Reorganized Debtor, as applicable, reserve the right to alter, amend, modify
or supplement any list of Executory Contracts at any time before the Effective Date. After the
Effective Date, the Reorganized Debtor shall have the right to terminate, amend or modify any
contracts, leases or other agreements without approval of the Bankruptcy Court.

B. Claims Based on Rejection of Executory Contracts

All Proofs of Claim with respect to Claims arising from the rejection of Executory
Contracts, including termination or rejection of the SHA, if any, must be filed with the
Bankruptcy Court by the applicable claims bar date. Any such Claims arisine—trem—the
refection-of-an-Exeeutory-Contract-not filed with the Bankruptcy Court within such time will
be automatically disallowed, forever barred from assertion and shall not be enforceable against
the Debtor or the Reorganized Debtor, the Estate or their property without the need for any
objection by the Reorganized Debtor or further notice to, or action, order or approval of the
Bankruptcy Court. All Allowed Claims arising from the rejection of the Debtor’s Executory
Contracts--shall-be-classHfied as—General -Linsecured-Clanns-asainst -the-bebtor-and-shall-be,
including termination or rejection of the SHA, shall be treated in accordance with Article II.D
of the Plan unless otherwise ordered by the Bankruptcy Court.

 

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C. Cure of Defaults for Assumed Executory Contracts

Any monetary amounts by which any Executory Contract to be assumed under the Plan
is in default shall be satisfied, under section 365(b)(1) of the Bankruptcy Code, by Cure. If
there is a dispute regarding (i) the nature or amount of any Cure, (ii) the ability of the
Reorganized Debtor to provide “adequate assurance of future performance” (within the
meaning of section 365 of the Bankruptcy Code) under the Executory Contract to be assumed
or (iii) any other matter pertaining to assumption, Cure shall occur following the entry of a
Final Order of the Bankruptcy Court resolving the dispute and approving the assumption.
Assumption of any Executory Contract pursuant to the Plan or otherwise shall result in the full
release and satisfaction of any Claims or defaults, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy related defaults, arising under any assumed Executory
Contract at any time before the effective date of the assumption.

D. Reservation of Rights.

Nothing contained in the Plan shall constitute an admission by the Plan Proponents or
the Debtor that any particular contract is in fact an Executory Contract or that the Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract is or
was executory at the time of assumption or rejection, the Plan Proponents or Reorganized
Debtor shall have 45 days following entry of a Final Order resolving such dispute to alter their
treatment of such contract or lease.

E. Contracts and Leases Entered Into After the Petition Date.

Contracts and leases entered into after the Petition Date by the Debtor, including any
Executory Contracts assumed by the Debtor, will be performed by the Debtor or Reorganized
Debtor in the ordinary course of its business. Accordingly, such contracts and leases will
survive and remain unaffected by entry of the Confirmation Order.

ARTICLE VI
PROVISIONS GOVERNING DISTRIBUTIONS
A. Timing and Calculation of Amounts to Be Distributed

Except as otherwise provided in the Plan, on the Effective Date or as soon as
reasonably practicable thereafter, each holder of an Allowed Claim or Existing Interest against
the Debtor shall receive the full amount of the distributions that the Plan provides for Allowed
Claims and Allowed Existing Interests in the applicable Class and in the manner provided
herein. There shall be no record date for distributions under the Plan. In the event that any
payment or act under the Plan is required to be made or performed on a date that is not a
Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed

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as of the required date. If and to the extent that there are Disputed Claims, distributions on
account of any such Disputed Claims shall be made pursuant to the provisions set forth in
Article VI hereof. Except as otherwise provided herein, holders of Claims shall not be
entitled to interest, dividends or accruals on the distributions provided for herein, regardless of
whether such distributions are delivered on or at any time after the Effective Date.

B. Disbursing Agent

Except as otherwise provided herein, all distributions under the Plan shall be made by
the Reorganized Debtor as Disbursing Agent or such other Person designated by the
Reorganized Debtor as a Disbursing Agent on the Effective Date.

C. Rights and Powers of Disbursing Agent
1. Powers of the Disbursing Agent

The Disbursing Agent shall be empowered to: (a) affect all actions and execute all
agreements, instruments and other documents necessary to perform its duties under the Plan;
(b) make all distributions contemplated hereby; (c) employ professionals to represent it with
respect to its responsibilities; and (d) exercise such other powers as may be vested in the
Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

2. Expenses Incurred On or After the Effective Date

Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable
fees and expenses incurred by the Disbursing Agent in connection with distributions under or
implementation of the Plan on or after the Effective Date (including taxes) and any reasonable
compensation and expense reimbursement claims (including reasonable attorney fees and
expenses) made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtor.

D. Cash Distributions
Distributions of Cash may be made either by check drawn on a domestic bank or wire
transfer from a domestic bank, at the option of the Reorganized Debtor, except that Cash
payments made to foreign creditors may be made in such funds and by such means as are
necessary or customary in a particular foreign jurisdiction.
E. Rounding of Payments
Whenever payment of a fraction of a cent would otherwise be called for, the actual

payment shall reflect a rounding down of such fraction to the nearest whole dollar, or zero if
the amount is less than one dollar.

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F. Distributions on Account of Claims Allowed After the Effective Date

1. Payments and Distributions on Disputed Claims

 

Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

2. Special Rules for Distributions to Holders of Disputed Claims

Notwithstanding any provision otherwise in the Plan and except as may be agreed to
by the Debtor or the Reorganized Debtor, on the one hand, and the holder of a Disputed
Claim, on the other hand, no partial payments and no partial distributions shall be made with
respect to any Disputed Claim until all Disputed Claims held by the holder of such Disputed
Claim have become Allowed Claims or have otherwise been resolved by settlement or Final
Order.

G. Delivery of Distributions and Undeliverable or Unclaimed Distributions

1. Delivery of Distributions in General

 

Except as otherwise provided in the Plan, distributions to holders of Allowed Claims
shall be made to holders of record by the Disbursing Agent: (a) to the signatory set forth on
any of the Proofs of Claim filed by such holder or other representative identified therein (or at
the last known addresses of such holder if no Proof of Claim is filed or if the Debtor has been
notified in writing of a change of address); (b) at the addresses set forth in any written notices
of address changes delivered to the Disbursing Agent after the date of any related Proof of
Claim; (c) on any counsel that has appeared in the Chapter 11 Case or any successor cases on
the holder’s behalf; or (d) at the addresses reflected in the Debtor’s books and records.
Distributions under the Plan on account of Allowed Claims or Allowed Existing Interests shall
not be subject to levy, garnishment, attachment or like legal process, so that each holder of an
Allowed Claim or Allowed Existing Interest shall have and receive the benefit of the
distributions in the manner set forth in the Plan. None of the Debtor, the Reorganized Debtor
and the applicable Disbursing Agent shal] incur any liability whatsoever on account of any
distributions under the Plan except for gross negligence, willful misconduct or fraud.

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2. Undeliverable Distributions and Unclaimed Property

In the event that any distribution to any holder is returned as undeliverable, no
distribution to such holder shall be made unless and until the Disbursing Agent has
determined the then current address of such holder, at which time such distribution shall be
made as soon as practicable after such distribution has become deliverable or has been
claimed to such holder without interest; provided, however, that such distributions shall be
deemed unclaimed property under section 347(b) of the Bankruptcy Code and forfeited at the
expiration of six months from the applicable distribution date. After such date, all “unclaimed
property” or interests in property shall revert to the Reorganized Debtor (notwithstanding any
applicable federal or state escheat, abandoned or unclaimed property laws to the contrary), and
the Claim of any holder to such property shall be discharged and forever barred.

H. Withholding and Reporting Requirements

In connection with the Plan and all instruments issued in connection therewith, the
Disbursing Agent shall comply with all applicable withholding and reporting requirements
imposed by any federal, state or local taxing authority, and all distributions under the Plan
shall be subject to any such withholding or reporting requirements.

I. Setoffs

Except as set forth herein, the Debtor and the Reorganized Debtor may withhold (but
not set off except as set forth below) from the distributions called for under the Plan on
account of any Allowed Claim or Allowed Existing Interest an amount equal to any claims,
equity interests, rights and Causes of Action of any nature that the Debtor or the Reorganized
Debtor may hold against the holder of any such Allowed Claim or Allowed Existing Interest.
In the event that any such claims, equity interests, rights and Causes of Action of any nature
that the Debtor or the Reorganized Debtor may hold against the holder of any such Allowed
Claim or Allowed Existing Interest are adjudicated by Final Order or otherwise resolved, the
Debtor may, pursuant to section 558 of the Bankruptcy Code or applicable non-bankruptcy
law, set off against any Allowed Claim or Allowed Existing Interest and the distributions to be
made pursuant hereto on account of such Allowed Claim or Allowed Existing Interest (before
any distribution is made on account of such Allowed Claim or Allowed Existing Interest) the
amount of any adjudicated or resolved claims, equity interests, rights and Causes of Action of
any nature that the Debtor or the Reorganized Debtor may hold against the holder of any such
Allowed Claim or Allowed Existing Interest, but only to the extent of such adjudicated or
resolved amount. Neither the failure to effect such a setoff nor the allowance of any Claim or
Allowed Existing Interest under the Plan shall constitute a waiver or release by the Debtor or
the Reorganized Debtor of any such claims, equity interests, rights and Causes of Action that
the Debtor or the Reorganized Debtor may possess against any such holder, except as
specifically provided herein.

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J. Allocation of Distributions Between Principal and Unpaid Interest

To the extent that any Claim entitled to a distribution under the Plan is comprised of
indebtedness and accrued but unpaid interest thereon, such distribution shall, for income tax
purposes, be allocated on the Debtor’s books and records to the principal amount of the Claim
first and then, to the extent the consideration exceeds the principal amount of the Claim, to
the accrued but unpaid interest.

ARTICLE VIE

PROCEDURES FOR RESOLVING CONTINGENT,
UNLIQUIDATED AND DISPUTED CLAIMS

A. Proofs of Claim

Notwithstanding anything herein, in the Bankruptcy Code, in the Bankruptcy Rules, or
in any other order of the Bankruptcy Court to the contrary, the Plan Proponents will not be
required to file Proofs of Claim in the Chapter 11 Case or any successor cases on account of
the Existing Loan Claims_and their Existing Interests, and the findings of fact in the
Confirmation Order shall be deemed to constitute a timely filed Proof of Claim.

B. Prosecution of Objections to Claims

The Plan Proponents (before the Effective Date) and the Reorganized Debtor (on or
after the Effective Date), as applicable, shall have the exclusive authority to file, settle,
compromise, withdraw or litigate to judgment any objections to Claims as permitted under the
Plan. From and after the Effective Date, the Reorganized Debtor may settle or compromise
any Disputed Claim without approval of the Bankruptcy Court. The Plan Proponents and the
Reorganized Debtor reserve all rights to resolve any Disputed Claim outside the Bankruptcy
Court under applicable governing law. The Plan Proponents dispute any Proof of Claim filed,
or other Claim asserted, by Stephen Lynch, and such Proof of Claim or Claim is a Disputed
Claim.

C. Allowance of Claims

Except as expressly provided herein or in any order entered in the Chapter 11 Cases
before the Effective Date (including the Confirmation Order), the Reorganized Debtor after the
Effective Date will have and retain any and all rights and defenses held by the Debtor with
respect to any Claim as of the Petition Date. All claims of any Person against any Debtor
shall be disallowed unless and until such Person pays, in full, the amount it owes the Debtor.

D. Distributions After Allowance

On the Distribution Date following the date that the order or judgment of the
Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the Disbursing Agent

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shall provide to the holder of such Claim the distribution (if any) to which such holder is
entitled under the Plan as of the Effective Date, without any interest to be paid on account of
such Claim.

FE. Estimation of Claims

The Plan Proponents (before the Effective Date) and the Reorganized Debtor (on or
after the Effective Date) may, at any time, and from time to time, request that the Bankruptcy
Court estimate any Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether an objection was previously filed with the Bankruptcy Court with
respect to such Claim, or whether the Bankruptcy Court has ruled on any such objection, and
the Bankruptcy Court will retain jurisdiction to estimate any Claim at any time during
litigation concerning any objection to any Claim, including during the pendency of any appeal
relating to any such objection. In the event that the Bankruptcy Court estimates any Disputed
Claim, that estimated amount will constitute either the Allowed amount of such Claim or a
maximum limitation on such Claim against any party or Person, as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation on such Claim,
the Plan Proponents (before the Effective Date) and the Reorganized Debtor (after the
Effective Date), may elect to pursue any supplemental proceedings to object to any ultimate
distribution on such Claim. All of the objection, estimation, settlement and resolution
procedures set forth in the Plan are cumulative and not necessarily exclusive of one another.
Claims may be estimated and subsequently compromised, objected to, settled, withdrawn or
resolved by any mechanism approved by the Bankruptcy Court.

F. Deadline to File Objections to Claims

Any objections to Claims shall be filed no later than the Claims Objection Bar Date,
provided, however, that the Plan Proponents or the Reorganized Debtor’s failure to file an
objection by the Claims Objection Bar Date shall not cause any Claim to be deemed an
Allowed Claim nor shall it prejudice their rights to resolve any Disputed Claim outside the
Bankruptcy Court under applicable governing law.

ARTICLE Vili
SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS
A. Compromise and Settlement of Claims, Interests and Controversies

Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in
consideration for the distributions and other benefits provided pursuant to the Plan, the
provisions of the Plan shall constitute a good faith compromise of all Claims, Existing
Interests and controversies relating to the contractual, legal and subordination rights that a
holder of a Claim or Existing Interest may have with respect to any Allowed Claim or
Existing Interest, or any distribution to be made on account of such Allowed Claim or
Existing Interest. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s

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approval of the compromise or settlement of all such Claims, Existing Interests and
controversies, as well as a finding by the Bankruptcy Court that such compromise or
settlement is in the best interests of the Debtor, its Estate and holders of Claims and Existing
Interests and is fair, equitable and reasonable. In accordance with the provisions of the Plan,
without any further notice to or action, order or approval of the Bankruptcy Court, after the
Effective Date, the Reorganized Debtor may compromise and settle Claims and Causes of
Action against other Persons.

B. Vesting of Assets in the Reorganized Debtor

Except as otherwise provided in the Plan or any agreement, instrument or other
document incorporated therein, and except with respect to any assets of the Debtor acquired in
a Transaction as evidenced by a Purchase Agreement or otherwise, on the Effective Date, all
property of the Estate and all Causes of Action (except those released pursuant to the Plan)
shall vest in the Reorganized Debtor, free and clear of all liens, Claims, charges or other
encumbrances. On and after the Effective Date, except as otherwise provided in the Plan, the
Reorganized Debtor may operate its businesses and may use, acquire or dispose of property
and compromise or settle any Claims, Existing Interests, and Causes of Action, including by
causing PNS to compromise or settle the Yukos Finance Litigation to the extent PNS is not
sold in a Transaction, in each case without supervision or approval by the Bankruptcy Court
and free of any restrictions of the Bankruptcy Code, Bankruptcy Rules, or any prepetition
agreement, including the SHA.

C. Discharge of Claims

Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan, the distributions, rights and treatment that are provided in the
Plan shall be in full and final satisfaction, settlement, release and discharge, effective as of the
Effective Date, of all Claims, Existing Interests and Causes of Action of any nature
whatsoever, including any interest accrued on Claims or Existing Interests from and after the
Petition Date, whether known or unknown, against the Debtor or any of its assets or
properties, regardless of whether any property shall have been distributed or retained pursuant
to the Plan on account of such Claims and Existing Interests, including demands, liabilities
and Causes of Action that arose before the Effective Date, any contingent or non-contingent
liability on account of representations or warranties issued on or before the Effective Date, and
all debts of the kind specified in sections 502(g), 502(h) or 502() of the Bankruptcy Code, in
each case whether or not: (1) a Proof of Claim or Existing Interest based upon such Claim,
debt, right or Existing Interest is filed or deemed filed pursuant to section 501 of the
Bankruptcy Code; (2) a Claim or Existing Interest based upon such Claim, debt, right or
Existing Interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the holder
of such a Claim or Existing Interest has accepted the Plan. Except as otherwise provided
herein, any default by the Debtor with respect to any Claim or Existing Interest that existed
before or on account of the filing of the Chapter 11 Case shall be deemed cured on the
Effective Date. The Confirmation Order shall be a judicial determination of the discharge of

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all Claims and Existing Interests subject to the Effective Date occurring, except as otherwise
expressly provided in the Plan.

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D. Releases by the Debtor

Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
allowed by applicable law, and except as otherwise specifically provided in the Plan or
the Plan Supplement, for good and valuable consideration, including (i) the service of the
Released Parties in facilitating the expeditious reorganization of the Debtor and the
implementation of the restructuring contemplated by the Plan, (ii) the New Money Loan
Participants’ participation in the New Money Loan Offering, and (iii) the discharge of
debt and all other good and valuable consideration paid pursuant hereto, on and after
the Effective Date, the Released Parties and their respective property are released and
discharged by the Reorganized Debtor from any and all claims, obligations, rights, suits,
damages, Causes of Action, remedies and liabilities whatsoever, including any derivative
claims, asserted or assertable on behalf of the Reorganized Debtor, whether known or
unknown, foreseen or unforeseen, liquidated or unliquidated, contingent or non-
contingent, existing or hereinafter arising, in law, equity or otherwise, whether for tort,
fraud, contract, violations of federal or state securities laws or otherwise, that the
Reorganized Debtor would have been legally entitled to assert in its own right (whether
individually or collectively) or on behalf of the holder of any Claim or Existing Interest
or other Person, based on or relating to, or in any manner arising from, in whole or in
part, the Debtor, the Debtor’s restructuring, the Debtor’s Chapter 11 Case, the SHA, the
purchase, sale or rescission of the purchase or sale of any security of the Debtor or the
Reorganized Debtor, the subject matter of, or the transactions or events giving rise to,
any Claim or Existing Interest that is treated in the Plan, the business or contractual
arrangements between the Debtor, Reorganized Debtor, or Estate and any Released
Party, the restructuring of Claims and Existing Interests before or during the Chapter
11 Case, the negotiation, formulation or preparation of the Plan, the Plan Supplement or
related agreements, instruments or other documents, or with respect to any other act or
omission, transaction, agreement, event or other occurrence taking place on or before the
Effective Date; provided, however, that nothing in this Article VIILD shall be construed
to release any party or entity from gross negligence, intentional fraud, willful
misconduct, or criminal conduct, as determined by a Final Order.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the Debtor releases pursuant to this
Article VILLD, which includes by reference each of the related provisions and definitions
contained herein, and further shall constitute the Bankruptcy Court’s finding that such
Debtor releases are (i) in exchange for the good and valuable consideration provided by
the Released Parties, (ii) a good faith settlement and compromise of the Claims released
by such Debtor releases, (iii) in the best interests of the Debtor and all holders of Claims
and Existing Interests, (iv) fair, equitable and reasonable, (v) given and made after due
notice and opportunity for hearing, and (vi) a bar to any of the Debtor or the
Reorganized Debtor asserting any Claim or Cause of Action released pursuant to such
Debtor releases.

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E. Exculpation

Except as otherwise specifically provided in the Plan or Plan Supplement, no
Released Party shall have or incur, and each Released Party is hereby released and
exculpated from, any Exculpated Claim, obligation, Cause of Action or liability for any
Exculpated Claim. The Plan Proponents, Debtor and Reorganized Debtor (and each of
their respective Affiliates, agents, directors, officers, employees, advisors and attorneys)
have, and upon Confirmation of the Plan shall be deemed to have, participated in good
faith and in compliance with the applicable provisions of the Bankruptcy Code with
regard to the solicitation and distribution of the Plan consideration, and, therefore, are
not, and on account of such distributions shall not be, liable at any time for the violation

 

rejections of the Plan or such distributions made pursuant to the Plan.

F. Injunction

EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN, THE PLAN
SUPPLEMENT OR RELATED DOCUMENTS, OR FOR OBLIGATIONS ISSUED
PURSUANT TO THE PLAN, ALL PERSONS WHO HAVE HELD, HOLD OR MAY HOLD
CLAIMS OR EXISTING INTERESTS THAT HAVE BEEN RELEASED, DISCHARGED,
OR ARE SUBJECT TO EXCULPATION, ARE PERMANENTLY ENJOINED, FROM AND
AFTER THE EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS
AGAINST THE APPLICABLE PERSONS: (1) COMMENCING OR CONTINUING IN
ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR EXISTING INTERESTS; (2) ENFORCING, ATTACHING, COLLECTING OR
RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT, AWARD, DECREE
OR ORDER AGAINST SUCH PERSONS ON ACCOUNT OF OR IN CONNECTION WITH
OR WITH RESPECT TO ANY SUCH CLAIMS OR EXISTING INTERESTS; (3)
CREATING, PERFECTING OR ENFORCING ANY ENCUMBRANCE OF ANY KIND
AGAINST SUCH PERSONS OR THE PROPERTY OR ESTATES OF SUCH PERSONS ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR EXISTING INTERESTS; AND (4) COMMENCING OR CONTINUING IN
ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR EXISTING INTERESTS RELEASED, SETTLED OR DISCHARGED
PURSUANT TO THE PLAN.

THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF ALL
CLAIMS AND EXISTING INTERESTS HEREIN SHALL BE IN EXCHANGE FOR AND
IN COMPLETE SATISFACTION OF ALL CLAIMS AND EXISTING INTERESTS OF ANY
NATURE WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM
AND AFTER THE PETITION DATE, AGAINST THE DEBTOR OR ANY OF ITS

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ASSETS, PROPERTY OR ESTATE. ON THE EFFECTIVE DATE, ALL SUCH CLAIMS
AGAINST THE DEBTOR SHALL BE FULLY RELEASED AND DISCHARGED.

EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR HEREIN OR IN
OBLIGATIONS ISSUED PURSUANT TO THE PLAN FROM AND AFTER THE
EFFECTIVE DATE, ALL CLAIMS AGAINST THE DEBTOR SHALL BE FULLY
RELEASED AND DISCHARGED, AND ALL INTERESTS SHALL BE CANCELLED, AND
THE DEBTOR’S LIABILITY WITH RESPECT THERETO SHALL BE EXTINGUISHED
COMPLETELY, INCLUDING ANY LIABILITY OF THE KIND SPECIFIED UNDER
SECTION 502(G) OF THE BANKRUPTCY CODE. ALL PERSONS SHALL BE
PRECLUDED FROM ASSERTING AGAINST THE DEBTOR, THE DEBTOR’S ESTATE,
THE REORGANIZED DEBTOR, EACH OF ITS SUCCESSORS AND ASSIGNS, AND
EACH OF ITS ASSETS AND PROPERTIES, ANY OTHER CLAIMS OR EXISTING
INTERESTS BASED UPON ANY DOCUMENTS, INSTRUMENTS OR ANY ACT OR
OMISSION, TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR NATURE THAT
OCCURRED BEFORE THE EFFECTIVE DATE.

G. Term of Injunctions or Stays

Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or
stays in effect in the Chapter 11 Case pursuant to sections 105 or 362 of the Bankruptcy Code
or any order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any
injunctions or stays contained in the Plan or the Confirmation Order) shall remain in full force
and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

ARTICLE Ix

CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN AND THE
EFFECTIVE DATE

A. Conditions Precedent to Confirmation

It shall be a condition to Confirmation hereof that the following provisions, terms and
conditions shall have been satisfied or waived pursuant to the provisions of Article IX.C.

1. The Confirmation Order shall be in form and substance acceptable to the Plan
Proponents in their sole discretion and shall include a determination by the Bankruptcy Court
that the SHA has been terminated by its terms, including 8§ 1.9, 1.11 and 23.1 thereof and/or
that the SHA has been rejected in the Plan Proponents’ sole discretion.

2. The Plan, the Plan Supplement, any Purchase Agreement, and any document
evidencing a Transaction, including any schedules, documents, supplements and exhibits
thereto shall, in form and substance, be acceptable to the Plan Proponents in their sole
discretion.

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3. No Proofs of Claim or other liabilities shall have been filed or asserted by any
Person on account of any matter unless such Proof of Claim or other liability has been
determined to the Plan Proponents’ satisfaction in their sole discretion.

B. Conditions Precedent to the Effective Date

It shall be a condition to the Effective Date that the following provisions, terms and
conditions shall have been satisfied or waived pursuant to the provisions of Article IX.C.

1. The Bankruptcy Court shall have entered one or more orders (which may
include the Confirmation Order) authorizing the assumption and rejection of Executory
Contracts as contemplated herein in form and substance acceptable to the Plan Proponents in
their sole discretion.

2. The Confirmation Order shall have been entered by the Bankruptcy Court and
shall not be subject to any stay subject to an unresolved request for revocation under section
1144 of the Bankruptcy Code.

3, The New Money Loan Offering shall have been consummated, unless the Plan
Proponents determine in their sole discretion not to consummate the New Money Loan
Offering.

4. All of the schedules, documents, supplements and exhibits to the Plan shall
have been filed in form and substance acceptable to the Plan Proponents in their sole
discretion.

5. All authorizations, consents, and regulatory approvals required, if any, in
connection with the consummation of the Plan shall have been obtained.

6. All actions, documents, certificates, and agreements necessary to implement this
Plan shall have been effected or executed and delivered to the required parties and, to the
extent required, filed with the applicable governmental units in accordance with applicable
laws. All conditions precedent to the effectiveness of such documents and agreements shall
have been satisfied or waived pursuant to the terms thereof.

C. Waiver of Conditions

The conditions to Confirmation of the Plan and to consummation of the Plan set forth
in this Article IX may be waived at any time by the Plan Proponents in their sole discretion.

D. Effect of Failure of Conditions

If the consummation of the Plan does not occur, the Plan shall be null and void in all
respects and nothing contained in the Plan shall: (1) constitute a waiver or release of any
Claims against or Existing Interests in the Debtor; (2) prejudice in any manner the rights of

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the Debtor, any holders of Claims or any other Person; or (3) constitute an admission,
acknowledgment, offer or undertaking by the Debtor, any holders or any other Person in any
respect.

ARTICLE X
MODIFICATION, REVOCATION OR WITHDRAWAL OF T HE PLAN
A. Modification and Amendments

The Plan Proponents reserve the right to modify the Plan and seek Confirmation
consistent with the Bankruptcy Code. Subject to certain restrictions and requirements set forth
in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on
modifications set forth in the Plan, the Plan Proponents expressly reserve their rights to alter,
amend or modify materially the Plan one or more times, after Confirmation, and, to the extent
necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend or modify the
Plan or remedy any defect or omission, or reconcile any inconsistencies in the Plan or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and intent
of the Plan.

B. Revocation or Withdrawal of the Plan

The Plan Proponents reserve the right to revoke or withdraw the Plan before the
Effective Date. If the Plan Proponents revoke or withdraw the Plan, or if Confirmation or
consummation of the Plan does not occur, then: (1) the Plan shall be null and void in all
respects; (2) any settlement or compromise embodied in the Plan (including the fixing or
limiting to an amount certain of any Claim or Existing Interest or Class of Claims or Existing
Interests), assumption or rejection of Executory Contracts effected by the Plan, and any
document or agreement executed pursuant to the Plan, shall be deemed null and void; and (3)
nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Existing Interests; (b) prejudice in any manner the rights of the Debtor, the Plan Proponents or
any other Person; or (c) constitute an admission, acknowledgement, offer or undertaking of
any sort by the Plan Proponents or any other Person.

ARTICLE XI
RETENTION OF JURISDICTION

Notwithstanding the entry of the Confirmation Order and the occurrence of the
Effective Date, on and after the Effective Date, the Bankruptcy Court shall retain such
jurisdiction over the Chapter 11 Case and all matters arising out of or related to the Chapter
11 Case and the Plan including jurisdiction to:

1. allow, disallow, determine, liquidate, classify, estimate or establish the priority,
secured or unsecured status, or amount of any Claim or Existing Interest, including the

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Pg 103 of 117

resolution of any request for payment of any Administrative Claim and the resolution of any
and all objections to the secured or unsecured status, priority, amount or allowance of Claims;

2. decide and resolve all matters related to the granting and denying, in whole or
in part, of any applications for allowance of compensation or reimbursement of expenses to
professionals authorized pursuant to the Bankruptcy Code or the Plan;

3. resolve any matters related to: (a) the assumption, assumption and assignment
or rejection of any Executory Contract to which the Debtor is party or with respect to which
the Debtor may be liable in any manner and to hear, determine and, if necessary, liquidate,
any Claims arising therefrom, including Claims based on the Debtor’s rejection of Executory
Contracts, Cure Claims pursuant to section 365 of the Bankruptcy Code or any other matter
related to such Executory Contract; (b) any potential contractual obligation under any
Executory Contract that is assumed; (c) the Reorganized Debtor amending, modifying or
supplementing, after the Effective Date, any Executory Contracts or the list of Executory
Contracts to be assumed or rejected or otherwise; and (d) any dispute regarding whether a
contract or lease is or was executory or expired.

4. ensure that distributions to holders of Allowed Claims are accomplished
pursuant to the provisions of the Plan;

5. adjudicate, decide or resolve any motions, adversary proceedings, contested or
litigated matters and any other matters, and grant or deny any applications involving the
Debtor that may be pending on the Effective Date;

6. adjudicate, decide or resolve any and all matters related to any Cause of Action;
7. adjudicate, decide or resolve any and all matters related to section 1141 of the

Bankruptcy Code;

8. resolve any avoidance or recovery actions under sections 105, 502(d), 542
through 551 and 553 of the Bankruptcy Code;

9, resolve any cases, controversies, suits, disputes or Causes of Action that may
arise in connection with the consummation, interpretation or enforcement of the Plan or any
Person’s obligations incurred in connection with the Plan;

10. issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any Person with consummation or
enforcement of the Plan;

Ll. resolve any cases, controversies, suits, disputes or Causes of Action with
respect to the discharge, releases, injunctions, exculpations, indemnifications and other
provisions contained in the Plan and enter such orders as may be necessary or appropriate to
implement such releases, injunctions and other provisions;

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12. enter and implement such orders as are necessary OF appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

13. adjudicate any and all disputes arising from or relating to distributions under the
Plan;

14. consider any modifications of the Plan, cure any defect or omission or reconcile
any inconsistency in any Bankruptcy Court order, including the Confirmation Order,

15. determine requests for the payment of Claims entitled to priority pursuant to
section 507 of the Bankruptcy Code;

16. hear and determine disputes arising in connection with the interpretation,
implementation or enforcement of the Plan or the Confirmation Order, including disputes
arising under agreements, documents or instruments executed in connection with the Plan,
including the Amended Kirwan Governance Documents and the Board and Shareholder
Circulars;

17. hear and determine matters concerning State, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code;

18. hear and determine all disputes involving the existence, nature or scope of the
Debtor’s discharge;

19, determine any other matters that may arise in connection with or related to the
Plan or the Confirmation Order;

20. enforce all orders previously entered by the Bankruptcy Court;

21. hear any other matter not inconsistent with the Bankruptcy Code; and

22. enter an order concluding or closing the Chapter 11 Case.

ARTICLE XI
MISCELLANEOUS PROVISIONS
A. Immediate Binding Effect

Notwithstanding Bankruptcy Rules 3020(e), 6004(h) or 7062 or any other Bankruptcy
Rule, upon the occurrence of the Effective Date, the terms of the Plan and the Plan
Supplement shall be immediately effective and enforceable and deemed binding upon the
Debtor, the Reorganized Debtor and any and all holders of Claims or Existing Interests

(irrespective of whether such Claims or Existing Interests are deemed to have accepted the
Plan), all Persons that are parties to or are subject to the settlements, compromises, releases,

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discharges and injunctions described in the Plan, each Person acquiring property under the
Plan, and any and all non-Debtor parties to Executory Contracts with the Debtor.

B. Additional Documents

On or before the Effective Date, the Debtor may file with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan. The Debtor or Reorganized Debtor, as
applicable, and all holders of Claims or Existing Interests and all other parties in interest shall,
from time to time, prepare, execute and deliver any agreements or documents and take any
other actions as may be necessary or advisable to effectuate the provisions and intent of the
Plan.

C. Reservation of Rights

None of the Plan, any statement or provision contained in the Plan or any action taken
or not taken by the Plan Proponent or the Debtor with respect to the Plan or the Plan
Supplement shall be or shall be deemed to be an admission or waiver of any rights of the Plan
Proponent or the Debtor with respect to the holders of Claims or Existing Interests before the
Effective Date.

D. Successors and Assigns

The rights, benefits and obligations of any Person named or referred to in the Plan
shall be binding on, and shall inure to the benefit of, any heir, executor, administrator,
successor or assign, affiliate, officer, director, manager, agent, representative, attorney,
beneficiaries or guardian, if any, of each Person.

E. Service of Documents
After the Effective Date, any pleading, notice or other document required by the Plan
to be served or delivered shall be served as follows:
1. If to the Plan Proponents, to:
VR Capital Group Ltd.
300 Park Avenue, Suite 1602

New York, New York 10022
Attn: Sina Toussi

with copies to:

Skadden, Arps, Slate, Meagher and Flom LLP
4 Times Square

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New York, New York 10036
Attn: Mark A. McDermott

2. After the Effective Date, the Debtor may, in its sole discretion, notify Persons
that, in order to continue receiving documents pursuant to Bankruptcy Rule 2002, such
Persons must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002.
After the Effective Date, the Debtor is authorized to limit the list of Persons receiving
documents pursuant to Bankruptcy Rule 2002 to those Persons who have filed such renewed
requests.

F. Entire Agreement

Except as otherwise indicated, the Plan and the Plan Supplement supersede all previous
and contemporaneous negotiations, promises, covenants, agreements, understandings and
representations on such subjects, all of which have become merged and integrated into the
Plan.

G. Severability of Plan Provisions

If, before Confirmation of the Plan, any term or provision of the Plan is held by the
Bankruptcy Court or any other court exercising proper jurisdiction to be invalid, void or
unenforceable, the Bankruptcy Court or other court exercising proper jurisdiction shall have
the power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held
to be invalid, void or unenforceable, and such term or provision shall then be applicable as
altered or interpreted. Notwithstanding any such holding, alteration or interpretation, the
remainder of the terms and provisions of the Plan will remain in full force and effect and will
in no way be affected, impaired or invalidated by such holding, alteration or interpretation.
Notwithstanding the foregoing, if any provision of the Plan is materially altered or rendered
unenforceable, the Plan shall not be confirmed without the written consent of the Plan
Proponents..

H. Exhibits

All exhibits and documents included in the Plan Supplement are incorporated into and
are a part of the Plan as if set forth in full in the Plan. After the exhibits and documents are
filed, copies of such exhibits and documents shall be available upon request to the Plan
Proponents’ counsel, by contacting Skadden, Arps, Slate, Meagher and Flom LLP, 4 Times
Square, New York, New York 10036, or by accessing the Bankruptcy Court’s website at
https://ecf.nysb.uscourts.gov. To the extent any exhibit or document is inconsistent with the
terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-
document portion of the Plan shall control.

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Respectfully submitted,

LapidemLAPIDEM, LtéLTD.,

By:  /s/Emile du Toit
Name: Emile du Toit
Title: Director

Maseint-Holdines-Limited;
MASCINI HOLDINGS LIMITED

By:  /s/Emile du Toit
Name: Emile du Toit
Title: Director

Jay M. Goffman
Mark A. McDermott
Raquelle L. Kaye

SKADDEN, ARPS, SLATE, MEAGHER
& FLOM, LLP

Four Times Square

New York, New York 10036-6522

(212) 735-3000

Counsel for Lapidem, Ltd. and Mascini Holdings
Ltd.

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Schedule A

Existing Loans

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Date

30 August 2007

     
   

Mascini USD Loan Agreements

Amount

  

$127,500,000.00

 

30 August 2007

$21,000,000.00

 

 

 

 

 

 

 

 

 

 

07 December 2007 $300,000.00
29 January 2008 $600,000.00
April 2008 $600,000.00
11 June 2008 $500,000.00
06 August 2008 $600,000.00
03 October 2008 $900,000.00
April 2009 $350,000.00
June 2009 $350,000.00
27 July 2009 $900,000.00
19 October 2009 $900,000.00

 

November 2009

$1,800,000.00

 

 

 

 

 

21 December 2009 $2,304,000.00
26 March 2010 $300,000.00
May 2010 $600,000.00
23 July 2010 $600,000.00
10 September 2010 $600,000.00

 

23 December 2010

$1,020,000.00

 

04 March 2011

$420,000.00

 

 

07 July 2011

 

$441,000.00

 

 

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Date Amount
07 August 2012 $360,000.00
30 May 2013 $12,000.00
22 August 2013 $416,000.00
18 September 2013 $65,000.00
26 September 2013 $6,000.00
01 November 2013 $2,700.00
12 November 2013 $60,000.00
03 December 2013 $87,000.00
31 December 2013 $25,200.00
29 January 2014 $21,000.00
03 February 2014 $26,000.00
20 March 2014 $52,200.00
24 April 2014 $164,100.00
28 May 2014 $127,000.00
21 July 2014 $20,400.00
03 September 2014 $51,000.00
16 September 2014 $3,500.00
12 November 2014 $80,000.00
23 December 2014 $129,000.00
13 January 2015 $45,000.00
18 March 2015 $93,500.00
17 April 2015 $1,200,000.00
21 August 2015 $2,400,000.00

 

 

TOTAL

 

$168,031,600.00

 

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Date

Amount

Mascini EUR Loan Agreements

30 March 2011

€ 24,894,359.53

 

TOTAL

€ 24,894,359.53

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30 August 2007 $85,000,000.00
30 August 2007 $14,000,000.00
07 December 2007 $200,000.00
29 January 2008 $400,000.00
April 2008 $400,000.00
11 June 2008 $333,333.00
06 August 2008 $400,000.00
03 October 2008 $600,000.00
April 2009 $233,333.00
15 June 2009 $233,333.00
27 July 2009 $600,000.00
19 October 2009 $600,000.00

 

November 2009

$1,200,000.00

 

21 December 2009

$1,536,000.00

 

 

 

 

 

 

 

26 March 2010 $200,000.00
May 2010 $400,000.00
23 July 2010 $400,000.00
08 September 2010 $400,000.00
23 December 2010 $680,000.00
04 March 2011 $280,000.00

 

 

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Date Amount
07 July 2011 $294,000.00
05 June 2012 $132,000.00
07 August 2012 $108,000.00
30 May 2013 $8,000.00
22 August 2013 $277,000.00
18 September 2013 $43,000.00
26 September 2013 $4,000.00
01 November 2013 $1,800.00
12 November 2013 $40,000.00
03 December 2013 $58,000.00
31 December 2013 $16,800.00
29 January 2014 $14,000.00
03 February 2014 $18,000.00
20 March 2014 $34,800.00
24 April 2014 $109,400.00
28 May 2014 $85,000.00
21 July 2014 $13,600.00
03 September 2014 $34,000.00
16 September 2014 $2,500.00
12 November 2014 $55,000.00
23 December 2014 $86,000.00
13 January 2015 $30,000.00
18 March 2015 $62,500.00
17 April 2015 $800,000.00

 

 

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Date Amount |
21 August 2015 $1,600,000.00
TOTAL $112,023,399.00

   
     

 

 

Lapidem EUR Loan Agreements

30 March 2011 € 16,596,239.69

 

TOTAL € 16,596,239.69

 

 

 

 

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Schedule B

 

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Pg 114 of 117

Schedule C
PNS Transition Matters

1. Preliminary steps. Stephen Lynch shall deliver to each of Lapidem and Mascini
complete and detailed lists (the ‘Detailed List”) of:

(a)

(b)

(c)

(d)

(e)

(f)

(g)

(h)
(i)

all current employees of PNS, listing their names, positions, compensation and
additional arrangements;

all bank accounts and securities accounts of PNS and all means of
access/control over such accounts, including any specimen bank cards, bank-
client online systems, etc.;

all agreements that are in force to which PNS is a party;

all powers of attorney issued on behalf of PNS to any party which are in force
(including any subsequent powers of attorney further delegating any powers),

all registration certificates, including corporate registration, tax registration and
title certificates pertaining to PNS, specifying the location at which the originals
of such certificates are kept;

all minutes and resolutions of PNS’ governing bodies, specifying the location at
which the originals are kept;

all internal documents, bylaws and regulations of PNS currently in force,
specifying the location at which the originals are kept;

all corporate seals of PNS specifying the location at which they are kept, and

all offices of PNS, means of access to such offices and persons holding such
means of access (keys, keycards, etc.).

2. Implementation steps. Stephen Lynch thereafter:

(a)

shall deliver to each of Lapidem and Mascini a confirmation that each Detailed
List is complete and accurate as of the date of the Transfer Agreement;

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(b) shall deliver to each of Lapidem and Mascini evidence satisfactory to each of
Lapidem and Mascini of:

(i) termination of all powers to manage accounts referred to in paragraph
1(b) above by Mr. Lynch and, to the extent Lapidem or Mascini
requested that such powers be revoked, by any other person; and

(ii) revocation of each power of attorney referred to in paragraph 1(d) above
to the extent Lapidem or Mascini requested that such power of attorney
be revoked;

(c) shall deliver a written resignation as general director and execute and promptly
file any necessary documents to effectuate the appointment of such person
designated by Lapidem and Mascini as the new general director;

(d) shall deliver to shall deliver to Lapidem and Mascini or the new general
director of PNS as designated by them:

(i) an original of each agreement referred to in paragraph I(c) above;
(ii) an original of each certificate referred to in paragraph 1(e) above;

(iii) an original of each resolution or set of minutes referred to in paragraph
1(f) above;

(iv) an original of each document referred to in paragraph 1(g) above;
(v) all corporate seals referred to in paragraph 1(h) above; and

(vi) all means of access referred to in paragraph 1! (i) above.

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Schedule ©D

Yukos Finance Litigation

 

The proceedings under case number 200.002.097/01 between Godfrey, Misamore, and Yukos Finance B.V. (as
represented by Godfrey), and Misamore v. Promneftstroy and Yukos Finance B.V. (as represented by Lynch
and Reid), and under case number 200.002.104/01 between Godfrey, Misamore, and Yukos Finance B.V. (as
represented by Godfrey) v. Promneftstroy, Shmelkov and Yukos Finance B.V. (as represented by Lynch and
Reid) in the Amsterdam Court of Appeals;

The proceeding styled Yukos Capital S.a.r.1. v. Yukos Oil Company in the Amsterdam District Court at docket
number 419369/09/449,

The proceeding styled Glendale v. Yukos Oil Company in the Amsterdam District Court at docket number
08/3565; and

JUDGMENT. 6 March 2008, Civil-law Section, Preliminary Relief Judge, case/cause-list number: 38893! /
KG ZA 08-104 P/CN

Parties

1. the legal entity under the laws of the Russian Federation, 000 PROMNEFTSTROY, having its registered
office in Moscow, Russian Federation, claimant by summons dated 21 January 2008, counsel mr. D.J. Oranje,
2. the legal entity under the laws of the Russian Federation, OAO ROSNEFT, and having its registered office
in Moscow, Russian Federation, claimant by summons dated 21 January 2008, Counsel mr. M. Deckers,

vs.

1. the private company with limited liability YUKOS INTERNATIONAL UK. B.V., having

its registered office in Amsterdam, the Netherlands

2. DAVID ANDREW GODFREY, residing in Honolulu, Hawaii, United States

3. BRUCE KELVERN MISAMORE, residing in Houston, Texas, United States defendants, Counsel mr. RJ.
van Galen,

4. the company under foreign law, MORAVEL INVESTMENT LIMITED, having its registered office in
Limassol, Cyprus, joining party on the part of the defendants, Counsel mr. A.A.H.J. Huizing,

JUDGMENT 24 February 2009, Case number: 200.005.433/01 SKG

Parties

L. the private company with limited liability YUKOS INTERNATIONAL UK. B.V., having

its registered office in Amsterdam, the Netherlands

2. DAVID ANDREW GODFREY, residing in Honolulu, Hawaii, United States

3. BRUCE KELVERN MISAMORE, residing in Houston, Texas, United States

Appellants and respondents in the cross-appeal, Counsel mr. R.J. van Galen,

VS.

1. the legal entity under the laws of the Russian Federation, 000 PROMNEPFTSTROY, having its registered
office in Moscow, Russian Federation, Respondent and cross-appellant, Counsel mr. D.J. Oranje,

2. the legal entity under the laws of the Russian Federation, OAO ROSNEFT, and having its registered office
in Moscow, Russian Federation, Respondent, Counsel mr. M. Deckers,

JUDGMENT 7 January 2011, Case number: 09/02232, Supreme Court of the Netherlands
Judgment in the case of:

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1. YUKOS INTERNATIONAL UK B.V., with its registered office in Amsterdam,
2. David Andrew GODFREY, residing in Honolulu, Hawai, United States of America,
3, Bruce Kelvern MISAMORE, residing in Houston, Texas, United States of America,

CLAIMANTS in cassation proceedings, attorney: mr. K.G.W. van Oven,
VS.

1. OOO PROMNEFTSTROY, with its registered office in Moscow, Russian Federation,
DEFENDANT in cassation proceedings, attorney: mr. E. Grabandt,
2. OAO ROSNEFT, with its registered office in Moscow, Russian Federation, DEFENDANT in

cassation proceedings, failed to make an appearance.

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SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
Jay M. Goffman

Mark A. McDermott

Raquelle Kaye

Four Times Square

New York, New York 10036

(212) 735-3000

Counsel to Lapidem Ltd.
and Mascini Holdings Limited

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

 

In re : Chapter 11
KIRWAN OFFICES S.A R.L., : Case No. 16-22321 (RDD)
Debtor.
CERTIFICATE OF SERVICE

 

I, Jason N. Kestecher, an attorney with the law firm of Skadden, Arps, Slate,
Meagher & Flom LLP, hereby certify that on February 28, 2017, I caused the following
documents to be served via the method set forth on the notice parties service list attached hereto
as Exhibit A.

e Order Signed on 2/28/2017 Establishing Bar Date For Filing Proofs of Claims and
Approving Form and Manner of Notice Thereof (Docket No. 108)

e Order Signed on 2/28/2017 Establishing Procedures with Respect to Plan Confirmation.
(Docket No. 109)

e Notice Of Filing Of The Combined First Amended Plan Of Reorganization And
Disclosure Statement Of Kirwan Offices S.ar.1. (Docket No. 110)

e Notice of Deadline For Filing Of Proofs Of Claim
e Proof Of Claim Form ~ Official Form 410

e Notice Of Confirmation Hearing

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Pg 2 of 19

On February 28, 2017, I caused the following documents to be served via the
method set forth on the notice parties service list attached hereto as Exhibit B.

e Subscription Form For Mr. Stephen Lynch For New Money Participation In Connection
With Kirwan Offices, S.a.r.l.’s Plan Of Reorganization

© Ballot For Accepting Or Rejecting The Chapter 11 Plan Of Reorganization Of Kirwan
Offices S.a.r.l.

Additionally, electronic correspondence as proof of certain e-mail service is
attached hereto as Exhibit C.

Dated: New York, New York
March 1, 2017
SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

By: /s/ Jason N. Kestecher
Jay M. Goffman
Mark A. McDermott
Raquelle Kaye
Jason N. Kestecher
Four Times Square
New York, New York 10036-6522
Telephone: (212) 735-3000
Fax: (212) 735-2000

Counsel to Lapidem Ltd.
and Mascini Holdings Limited

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EXHIBIT A

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Case 1:17-cv-04339-CM Document 13-7 Filed 07/13/17 Page 42 of 88

 

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From: Kestecher, Jason N (NYC)
Sent: Tuesday, February 28, 2017 1:30 PM
To: ‘slynch@monte-valle.sg’; '‘Sandakov@fds-law.com’
Ce: McDermott, Mark A (NYC); Kaye, Raquelle L (NYC)
Subject: Orders Entered in Kirwan Offices Sarl
Attachments: Bar Date Order.pdf; Confirmation Procedures Order.pdf, Form of ballot.pdf
Gentlemen,

Please find attached two orders entered today in In re Kirwan Offices S.a r./ (Bankr. $.D.N.Y. Case No. 16-22321).

Regards,

Jason Kestecher

 
      

 

. - k |] 16036-6522
Ys 222.735.2629 | F: 947.777.2629
jason kestecher@skadden.com

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From: Kestecher, Jason N (NYC)
Sent: Tuesday, February 28, 2017 1:34 PM
To: ‘slynch@monte-valle.sg'; ‘Sandakov@fds-law.com’
Cc: McDermott, Mark A (NYC); Kaye, Raquelle L (NYC)
Subject: Kirwan Offices Bar Date Notice Package
Attachments: Proof of Claim Form.pdf; Notice of Proof of Claim Deadline.pdf; Bar Date Order.pdf
Gentlemen,

Please find attached the bar date notice package in /n re Kirwan Offices S.a r.1 (Bankr. S.D.N.Y. Case No. 16-22321).

Regards,

Jason Kestecher

 

  

   

   

  

Four Times Squar ;
Ys 242.735.2629 | ©: O77 77.26
jason. kestecher@skadden.com

       

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From: Kestecher, Jason N (NYC)
Sent: Tuesday, February 28, 2017 1:49 PM
To: ‘slynch@monte-valle.sg'; ‘Sandakov@fds-law.com’
Ce: McDermott, Mark A (NYC); Kaye, Raquelle L (NYC)
Subject: Kirwan Offices - Notice of Confirmation Hearing
Attachments: Notice of Confirmation Hearing.pdf
Gentlemen,

Please find attached the Notice of Confirmation Hearing in /n re Kirwan Offices S.a r./ (Bankr. S.D.N.Y. Case No. 16-
22321).

Regards,

Jason Kestecher

Jason N. Kestecher
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036-6522

 
 

    
   

 
   

Fim v York | 3
T: 242.735.2629 | Fi QU7.777.2629
jasomkestecher@skadden.com

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From: Kestecher, Jason N (NYC)

Sent: Tuesday, February 28, 2017 2:11 PM

To: ‘slynch@monte-valle.sg’; ‘Sandakov@fds-law.com’

Ce: Kaye, Raquelle L (NYC); McDermott, Mark A (NYC)

Subject: Kirwan Offices - Subscription Agreement

Attachments: Subscription Agreement.pdf

Gentlemen,

Please find attached the subscription agreement in /n re Kirwan Offices S.a r./ (Bankr. $.D.N.Y. Case No. 16-22321).
Regards,

Jason Kestecher

Jason N, Kestecher
Skackien, Arps, Slate, Meagher
Four Times Square | New York ii
Y: 242.735.2629 | F: 947.777.2629

jason. kestecher@skadden.com

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From: Kestecher, Jason N (NYC)

Sent: Tuesday, February 28, 2017 2:29 PM

To: ‘stephenplynch@yahoo.com’

Cc: Kaye, Raquelle L (NYC); McDermott, Mark A (NYC)

Subject: FW: Kirwan Offices Bar Date Notice Package

Attachments: Proof of Claim Form.pdf; Notice of Proof of Claim Deadline.pdf; Bar Date Order.pdf

See below and attached.

Jason N. Kestecher

      
    
 

 

: | New York | 10036-6522
T: 222.735.2629 | Fi O27.7 77.2629
jason. kestecher@skadden.com

From: Kestecher, Jason N (NYC)

Sent: Tuesday, February 28, 2017 1:34 PM

To: 'slynch@monte-valle.sg'; 'Sandakov@fds-law.com’

Cc: McDermott, Mark A (NYC); Kaye, Raquelle L (NYC)

Subject: Kirwan Offices Bar Date Notice Package

Gentlemen,

Please find attached the bar date notice package in /n re Kirwan Offices S.a r.! (Bankr. S.D.N.Y. Case No. 16-22321).
Regards,

Jason Kestecher

Jason N. Kestecher

        

 

  

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: 5.2629 1 Fs O27. 777.2829
jason. kestecher@skadden.com

 

 

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Pg 15 of 19
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From: Kestecher, Jason N (NYC)
Sent: Tuesday, February 28, 2017 2:29 PM
To: ‘stephenplynch@yahoo.com'
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Attachments: Bar Date Order.pdf; Confirmation Procedures Order.pdf; Form of ballot.pdf

See below and attached.

Jason N. Kestecher

 
 
   

   

9629 | PF. CLP. 777.2629
jason. kestecher@skadden.com

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Sent: Tuesday, February 28, 2017 1:30 PM

To: 'slynch@monte-valle.sg'; 'Sandakov@fds-law.com!
Cc: McDermott, Mark A (NYC); Kaye, Raquelle L (NYC)
Subject: Orders Entered in Kirwan Offices Sarl

Gentlemen,

Please find attached two orders entered today in /n re Kirwan Offices S.a r./ (Bankr. S.D.N.Y. Case No. 16-22321).
Regards,

Jason Kestecher

Jason N. Kestecher
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jason kestecher@skadden.com

 
   
  

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From: Kestecher, Jason N (NYC)

Sent: Tuesday, February 28, 2017 2:30 PM

To: ‘stephenplynch@yahoo.com'

Ce: McDermott, Mark A (NYC); Kaye, Raquelle L (NYC)
Subject: FW: Kirwan Offices - Notice of Confirmation Hearing
Attachments: Notice of Confirmation Hearing.pdf

See below and attached.

Jason N, Kestecher

  
  

 

mes ae ¥v rk | 20036-6522
Y: 242.735.2629 | F: 947.777.2629
jason. kestecher@skadden.com

From: Kestecher, Jason N (NYC)

Sent: Tuesday, February 28, 2017 1:49 PM

To: 'slynch@monte-valle.sg'; 'Sandakov@fds-law.com’
Cc: McDermott, Mark A (NYC); Kaye, Raquelle L (NYC)
Subject: Kirwan Offices - Notice of Confirmation Hearing

Gentlemen,

Please find attached the Notice of Confirmation Hearing in /n re Kirwan Offices S.a r.1 (Bankr. $.D.N.Y. Case No. 16-
22321).

Regards,

Jason Kestecher

Jason N. Kestecher

5k AEDS,

Four Times Square | New Y }
Ti 212.735.2629 | Ps OL7,.7 77.2629
jason. kestecher@skadden.com

    
   

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Pg 17 of 19
sitet
From: Kestecher, Jason N (NYC)
Sent: Tuesday, February 28, 2017 2:30 PM
To: 'stephenplynch@yahoo.com’
Ce: McDermott, Mark A (NYC); Kaye, Raquelle L (NYC)
Subject: FW: Kirwan Offices - Subscription Agreement
Attachments: Subscription Agreement.pdf

See below and attached.

Jason N. Kestecher
Four Tim
Y: 212.725.
jason. kestecher@skadden.com

 
 
  

From: Kestecher, Jason N (NYC)

Sent: Tuesday, February 28, 2017 2:11 PM

To: 'slynch@monte-valle.sg’; 'Sandakov@fds-law.com’

Cc: Kaye, Raquelle L (NYC); McDermott, Mark A (NYC)

Subject: Kirwan Offices ~ Subscription Agreement

Gentlemen,

Please find attached the subscription agreement in /n re Kirwan Offices S.a r./ (Bankr. S.D.N.Y. Case No. 16-22321).
Regards,

Jason Kestecher

 

Jason N. Kestec

 
    

 

        

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Ys 222.735.2629 | QL7 277.28 2¢
jason. kestecher@skadden.coem

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From: Kaye, Raquelle L (NYC)

Sent: Tuesday, February 28, 2017 2:39 PM

To: Kestecher, Jason N (NYC); 'slynch@monte-valle.sg'; ‘Sandakov@fds-law.com’;
‘stephenplynch@yahoo.com'

Ce: McDermott, Mark A (NYC)

Subject: Kirwan Offices - Revised Plan and Solicitation

Attachments: KirwanPlan.doc; Redline - KirwanPlan.pdf; Kirwan_-_Class_4_Ballot.pdf; Subscription
Agreement.pdf; Notice of Confirmation Hearing.pdf

Gentlemen,

Please find attached the revised proposed Plan, which will be filed with the Court shortly. In addition, please find the
following documents, which were previously served upon you: (i) Class 4 Ballot; (ii) Subscription Agreement, and (iii)
Notice of Confirmation Hearing.

Regards,

Raquelle L. Kaye

& Flom LLP

   
 

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Pg 19 of 19
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From: Kaye, Raquelle L (NYC)
Sent: Tuesday, February 28, 2017 3:10 PM
To: Kestecher, Jason N (NYC); 'slynch@monte-valle.sg’; ‘Sandakov@fds-law.com’;
‘stephenplynch@yahoo.com’
Cc: McDermott, Mark A (NYC)
Subject: RE: Kirwan Offices - Revised Plan and Solicitation
Attachments: Dkt. 110 Amended Plan.pdf
Gentlemen,

Further to my email below, attached please find the as-filed version of the revised proposed Plan.

Regards,

Raquelle L. Kaye

Skadden, Arps, Slate, Meagher & Flom LLP
Four Times Square | New York | 10036-6522
T: 212.735.3756 | F: 917.777.3756

From: Kaye, Raquelle L (NYC)

Sent: Tuesday, February 28, 2017 2:39 PM

To: Kestecher, Jason N (NYC); 'slyrach@monte-valle.sg'; 'Sandakov@fds-law.com’, 'stephenplynch@yahoo.com!
Cc: McDermott, Mark A (NYC)

Subject: Kirwan Offices - Revised Plan and Solicitation

Gentlemen,
Please find attached the revised proposed Plan, which will be filed with the Court shortly. In addition, please find the
following documents, which were previously served upon you: (i) Class 4 Ballot; (ii) Subscription Agreement; and {iii)

Notice of Confirmation Hearing.

Regards,

Raqueile L. Kaye

  

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SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
Jay M. Goffman

Mark A. McDermott

Raquelle Kaye

Four Times Square

New York, New York 10036

(212) 735-3000

Counsel to Petitioners

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
In re : Chapter 11
KIRWAN OFFICES S.A R.L., : Case No. 16-22321 (RDD)

Debtor.

NOTICE OF CONFIRMATION HEARING

PLEASE TAKE NOTICE that on February 15, 2017, Lapidem Ltd. and Mascini
Holdings Limited (together, the “Petitioners”), by and through their undersigned counsel, filed
the Plan Of Reorganization Of Kirwan Offices S.a r.l [Docket No. 97] (as may be amended,
supplemented or otherwise modified, the "Plan") with the United States Bankruptcy Court for
the Southern District of New York (the "Bankruptcy Court"). Capitalized terms used in this
Notice which are not defined have the meanings set forth in the Plan.

PLEASE TAKE FURTHER NOTICE that, on February 28, 2017, the Bankruptcy
Court entered the Order Establishing Procedures With Respect To Plan Confirmation |Docket
No. 109] (the "Scheduling Order").

PLEASE TAKE FURTHER NOTICE that the Plan provides for releases,
exculpation and injunctions of certain conduct in Article VIII. The injunctions in the Plan

include a permanent injunction of the commencement or prosecution by any entity,

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whether directly, derivatively or otherwise, of any claims, obligations, suits, judgments,
damages, demands, debts, rights, causes of action or liabilities released or exculpated
pursuant to the Plan.

PLEASE TAKE FURTHER NOTICE that, pursuant to the Scheduling Order, a
hearing (the "Confirmation Hearing") will be held before the Honorable Robert D. Drain, United
States Bankruptcy Judge for the Southern District of New York, 300 Quarropas Street, New
York, New York 10601, on March 20, 2017 at 10:00 a.m. (Eastern T ime) or as soon thereafter
as counsel can be heard, to consider the entry of an order confirming the Plan within the meaning
of section 1129 of the Bankruptcy Code, 11 U.S.C. §§ 101-1532 (the "Bankruptcy Code"). The
Confirmation Hearing may be continued from time to time by way of announcement of such

continuance in open court, without further notice to parties in interest.

PLEASE TAKE FURTHER NOTICE that responses and objections, if any, to

confirmation of the Plan (each, a "Plan Confirmation Objection") must (a) be made in writing;

 

(b) comply with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure and the Local
Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
Southern District of New York; (c) state the name and address of the objecting party and the
nature and amount of any claim or interest asserted by such party against the Debtor, its estate or
property; (d) state with particularity the legal and factual bases and nature of any objection to the
Plan; and (e) be filed with the Bankruptcy Court together with proof of service thereof, and
served on the following, so as to be ACTUALLY RECEIVED no later than 4:00 p.m.
(prevailing Eastern time) on March 17, 2017: (i) counsel to the Petitioners, Skadden, Arps,
Slate, Meagher & Flom LLP, Four Times Square, New York, New York 10036, Attn: Jay

Goffman, Esq. (Jay.Goffman@skadden.com), Mark A. McDermott, Esq.

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(Mark. McDermott @skadden.com) and Raquelle L. Kaye, Esq. (Raquelle.Kaye @skadden.com),
(ii) the Office of the United States Trustee for the Southern District of New York, Office of the
United States Trustee for Region 2, 201 Varick Street, Suite 1006, New York, New York 10014,
Attn: Greg Zipes; and (iii) Stephen P. Lynch, Sadovnichiskaya UL, House 74, str 1, #110,
Moscow, Russia 115035 (slynch@monte-valle.sg), with a copy to the Court’s chambers. Plan
Confirmation Objections that are not timely filed and served in the manner set for above

shall not be considered by the Bankruptcy Court and shall be overruled.

PLEASE TAKE FURTHER NOTICE that a copy of the Plan and Scheduling Order
may be examined by any party in interest between the hours of 8:00 a.m. and 4:00 p.m., Monday
through Friday, excluding federal holidays, at the Office of the Clerk of the Bankruptcy Court
(the "Clerk"), 300 Quarropas Street, New York, New York 10601. Parties may also obtain a
copy of the Plan and Solicitation Procedures Order online through the Bankruptcy Court's

website (http://www.sdny.uscourts.gov) (a PACER account is required).

 

Dated: New York, New York
February 28, 2017
SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

By: /s/ Mark A. McDermott
Jay M. Goffman
Mark A. McDermott
Raquelle Kaye
Four Times Square
New York, New York 10036-6522
Telephone: (212) 735-3000
Fax: (212) 735-2000

Counsel for Petitioners

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Case 1:17-cv-04339-CM Document 13-7 Filed 07/13/17 Page 61 of 88

 

In Re:
KIRWAN OFFICES S.A.R.L.
Case No. 16-22321-rdd

 

February 27, 2017

 

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Case 1:17-cv-04339-CM Document 13-7 Filed 07/13/17

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

Case No. 16-22321-rdd

- -_ -” _ - - - -_ -_ - - mt - - —_ -_ - - — -— -xX
In the Matter of:
KIRWAN OFFICES S.A.R.L.,
Debtor.
- -” - _ — _ - — ~ - _ - - ~~ - — - - _ —_ -xX

United States Bankruptcy Court
300 Quarropas Street

White Plains, New York

February 27, 2017

10:13 AM

BEFORE:
HON. ROBERT D. DRAIN

U.S. BANKRUPTCY JUDGE

Page 62 of 88

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operations@escribers.net | www.escribers.net

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Case 1:17-cv-04339-CM Document 13-7 Filed 07/13/17 Page 63 of 88

Notice of Agenda Of Matters Scheduled for Hearing on February

27, 2017 at 10:00 A.M.

Hearing Regarding The Petitioners' (A) Motion For Entry Of An
Order Establishing Streamlined Procedures With Respect To Plan
Confirmation, (B) Motion For Entry Of An Order (I) Establishing
Deadlines For Submitting Proofs Of Claim, (II) Approving The
Form And Manner For Submitting Such Proofs Of Claim, And (III)
Approving Notice Thereof, And (C) Motion For Entry Of An Order
Scheduling An Expedited Telephonic Hearing And Shortening
Notice For Petitioners' Bar Date And Plan Confirmation

Procedures Motions (related document(s)100, 99, 98

Transcribed by: Penina Wolicki
eScribers, LLC

352 Seventh Avenue, Suite #604
New York, NY 10001

(973) 406-2250

operations@escribers.net

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operations@escribers.net | www.escribers.net

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Case 1:17-cv-04339-CM Document 13-7 Filed 07/13/17 Page 64 of 88

APPEARANCE S: (TELEPHONICALLY)
UNITED STATES DEPARTMENT OF JUSTICE
Office of the United States Trustee
201 Varick Street
Suite 1006

New York, NY 10014

BY: GREG M. ZIPES, ESQ.

SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
Attorneys for Lapidem Ltd. and Mascini Holdings Limited
4 Times Square

New York, Ny 10036

BY: MARK A. MCDERMOTT, ESQ.
RAQUELLE L. KAYE, ESQ.
JAY M. GOFFMAN, ESQ.

JONATHAN L. FRANK

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operations@escribers.net | www.escribers.net

 

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Case 1:17-cv-04339-CM Document 13-7 Filed 07/13/17 Page 65 of 88

GIBSON, DUNN & CRUTCHER LLP
Attorneys for Yukos International
333 South Grand Avenue

Los Angeles, CA 90071

BY: J. KEITH BIANCAMANO, ESQ.

SAMUEL A. NEWMAN, ESQ.

FD ADVISORY LLP
Attorneys for Stephen P. Lynch

Russia

BY: ANDREI SANDAKOV, ESQ.

STEPHEN P. LYNCH

Pro Se

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operations@escribers.net | www.escribers.net

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KIRWAN OFFICES S.A.R.L.

PROCEEDINGS

THE COURT: All right. In re Kirwan Offices S.a.r.l.

MR. MCDERMOTT: Your Honor, Mark McDermott from
Skadden Arps, on behalf of Lapidem and Mascini, petitioning
creditors for Kirwan.

THE COURT: Good morning. There's no one in the
courtroom, but I know there are a number of people on the phone
on this matter. You should only state your appearance if you
are on something other than listen only, and you intend to
speak.

MR. ZIPES: Greg Zipes with the U.S. Trustee's Office.

THE COURT: Okay, good morning.

Okay. This is the petitioning creditors' motion to
establish confirmation procedures as well as a motion to set a
bar date. Have there -- I saw the -- Mr. McDermott, I saw the

notice of proposed modified orders on this, which I have a copy

of. I guess the only major change on this is -- although it's
not particularly major -- is the address for service for Mr.
Lynch.

MR. MCDERMOTT: That's correct, Your Honor. You may
have seen that Mr. Lynch filed a notice with his former counsel
requesting approval for Mr. Levin at Jenner & Block and Mr.
White to withdraw as counsel, based upon Mr. Lynch's
termination of their engagement that was filed last week, I

believe, at some point.

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And in that withdrawal, Mr. Lynch included an
address -- both a mailing address and an email address. And we
asked that the two orders that we filed with Your Honor include
his email address to follow precedent from the Southern
District, which we can advise Your Honor or send to you that
basically says in sum and substance, that email service ona
U.S. citizen who is a resident of Russia, service via email
suffices, given Russia's position under an international
convention that basically does not accept mail service.

So that's why we did that. And that email address
that Mr. Lynch included on his withdrawal notice, is in fact,
the same email that I know my clients have been using with him
for the last few years, and it was part of the exhibits that we
tendered into evidence before Your Honor at the hearing a few
weeks ago, in particular some of the correspondence uses that
email address.

So without a lawyer and being a resident in Russia, we
wanted to make sure that we were proceeding absolutely as
carefully as possible. And that's the background behind those
two changes.

THE COURT: Okay. And Mr. Lynch is on the phone live,
and I assume, among other reasons, it's because he got notice
of this hearing.

MR. MCDERMOTT: Yes, we did set up -- obviously the

notice of the hearing was sent before his counsel was

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separated. And to ensure that he had as much access as
possible, we emailed him redlines of these orders that Your
Honor has, and we also set up this CourtCall for him, although
I'll note that we have not received any correspondence from him
or anybody purported to act on his behalf. But we did take
those steps to make sure that he was properly apprised.

THE COURT: Okay. All right. Well, the motion is
unopposed. And by "the motion", I'm referring to the first one
on confirmation procedures. Have there been any other
developments on it besides the amended orders -- amended
proposed order?

MR. MCDERMOTT: None that -- I'm aware of none, Your
Honor.

THE COURT: Okay.

MR. ZIPES: Your Honor, it's Greg Zipes. Could I be
heard very briefly from the U.S. Trustee's Office?

THE COURT: Yes.

MR. ZIPES: I wanted to note a few general comments
and then also specifics relating to this -- the confirmation
procedures. One is, generally, it's an odd case in that
there's no debtor, as such, that's appearing before you. It's
petitioning creditors. And there's no -- among other things,
there's no application for debtor's counsel.

And I have been getting emails and discussing

procedures with Skadden Arps just to get basic compliance

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relating to disbursements of this debtor. And we've gotten
emails stating, from Skadden, what disbursements have been
made; but I do note the odd procedural posture of this. And
that's a general comment.

As to the specific comments we have, we discussed
exculpations a little bit. I think the petitioning creditors
are going to have to explain the basis for the exculpations a
little bit more when they go in for confirmation, and I
discussed that with them.

Also the plan provides for payment of unsecured
creditors in full. And I asked for specifics on who the
unsecured creditors are, which is now part of this order that
the petitioning creditors are seeking approval of.

So my office is just going to reserve its rights when
this plan is filed, and we'll -- we may or may not have further
comments at confirmation time.

THE COURT: Okay. Just remind me: I had assumed -- I
think this is correct -- that I had terminated exclusivity. Is
that correct?

MR. MCDERMOTT: That's correct, Your Honor.

THE COURT: Okay. All right.

MR. MCDERMOTT: Mr. Zipes is correct. We've spoken,
and as always, he and his office have been very cooperative.
I've told him that nothing today is meant to impact or

prejudice any issues or concerns or questions he may have about

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the plan, whether exculpations or otherwise. We have included
by name and amount the known unsecured creditors that are out
there, both in the plan document and in the bar date papers,
which we will get to. And the intent is to pay them in full
whatever they assert, as long as they're obviously allowed
undisputed claims. But at the least the ones we have included
are all lawyers. And as far as we know, those amounts are
certainly what we understood them to be.

THE COURT: Subject to what may come out with the bar
date?

MR. MCDERMOTT: Correct.

THE COURT: Okay. All right. Well, I appreciate both
of those comments from the U.S. Trustee, and I also appreciate
that this motion is unopposed, and it does affect -- that fact
affects how I'm treating it. But I do have some real
hesitation on one aspect of the motion that I want to talk
through with the petitioning creditors.

The motion seeks a ruling that no disclosure statement
is necessary. And I accept that in the right circumstances,
given the language of 1125 of the Code, which says that a
disclosure statement is necessary for solicitation, that a
disclosure statement is not necessary if it is clear that the
creditors are either unimpaired or deemed to have rejected
under 1126/1124.

But in looking at the plan, it appears to me that as

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far as the interest-holders are concerned, Class 4, the plan
kind of elides that issue by saying that Lapidem and Mascini
are deemed to accept the plan, because they're the plan
proponents, and therefore Class 4 is deemed to accept the plan.
It doesn't say that Class 4 is unimpaired or Class 4 is --
obviously deemed to object the plan, because it's not getting
anything.

So I think technically Class 4 is voting on the plan,
correct?

MR. MCDERMOTT: We can set it up that way. However --

THE COURT: Well, I mean, it's not really -- it's not
really a plan issue so much as an issue for disclosure
statement, because the case law and the statute, I think, are
clear on this point that where you have a class that is voting,
in fact, there are two cases or three that say even if you're
not going to look to the vote, if you're looking to cram down
that class, you do need a disclosure statement. And --

MR. MCDERMOTT: You're raising all fair points that
I've actually put some thought in, Your Honor. And I did
purposely elide the issue of that, in part, because we're not a
hundred percent sure which direction we're going to go here.

As we said in our motion and also in the plan, we are
in the midst of exploring some alternatives here. There's a
possibility lightning strikes -- and I don't say that to

prejudge anything, because the efforts really are in earnest --

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that we could come up with a solution here with some of the
parties we're talking to, that results in a recovery for
shareholders, in which case we'll follow a waterfall from the
pre-petition shareholders' agreements. There's also a
possibility it just doesn't work out that way, and we just
terminate the shares.

One reason I put things in there the way I did is that
there are 2,500,001 shares in this debtor. My clients own
2,500,000 of those, and we know we're going to support it. The
only share that we don't own is that owned by Mr. Lynch. And
at least the way I read the Code, even if you say that there's
voting here, I don't see any way that we can't carry the vote
in that class.

THE COURT: Well, if that's true -- that's true. But
t don't think it takes you out of the requirement, in that
situation, to have a disclosure statement. Now, having said
that, I had two other views on this, and I appreciate I'm
talking somewhat in a vacuum, because there's no objection to
this motion, but that colors my views on it also.

First, as far as the disclosure statement requirement
is concerned, 105(d) expressly gives the Court the authority to
schedule the disclosure statement hearing with the confirmation
hearing, as long as it's not contrary to some other provision
of the Code. And it's rare that you would do that other than

in a small business plan, but I think this is one of those

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circumstances where it would be appropriate, both because of
timing issues that are highlighted in the motion, as well as
what you've just said, which is that here, the one party-in-
interest that the disclosure statement requirement would appear
to be for, other than the two plan proponents, is an owner of
the company, has been very current in the case, and appears to
me, based on the record of this case, to have a good
understanding of the debtor and the context in which it's in.

So it appears to me that one could combine the two
hearings. And then --

MR. MCDERMOTT: Well, that was actually my main
argument, Your Honor. The main one for not even having one at
all, although we can certainly -- if Your Honor wants one, we
can certainly go that route or talk about that. But the main
reason that I was seeking to be excused from it altogether is
that, to be honest, I'm not entirely sure what I'd put ina
disclosure statement that's going to actually educate somebody.

THE COURT: Well, that's the next point I was going to
make, which is that it is also the case, although rare, that
the plan can serve as the disclosure statement. Now, Mr. Zipes
raised an issue; maybe you want to beef up the discussion
either in the plan or in a separate document as to the
rationale for the injunction and release provisions in the
plan. Maybe you want to add something about feasibility and

the ability of the plan proponents to come up with the

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necessary money to pay the unsecured creditors.

MR. MCDERMOTT: Okay.

THE COURT: And maybe you also want to give the
rationale, if any, as to the -- why Mr. Lynch can invest up to
one million and the other two members are committed to invest
and can invest an aggregate two million.

Other than that, obviously, I'm suggesting that the
hearing on the disclosure statement would happen at
confirmation, but I'm just not sure whether there's anything
more to explain the workings of the plan to someone who I
believe is quite sophisticated, Mr. Lynch, than those three
things.

MR. MCDERMOTT: What we can do, Your Honor, and we're
happy to do it, is to recast the document as plan, I guess, and
disclosure statement, and beef up those points, and frankly
think about anything else we want to add. And we could get
that on file and out very, very quickly.

We have -- those are fair points. I did talk to Mr.
Zzipes in particular about feasibility as well. So I'm happy to
address each of those matters and then put them on file and
serve them out.

THE COURT: Okay. And again, in part, my view of
this, besides the factors I've already mentioned, is affected
by the fact that no one's objected to the motion.

MR. MCDERMOTT: I understand, Your Honor.

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THE COURT: So that would be my ruling on it. I'm
comfortable with the timing, given the nature of the case and
the plan. I think that you've been given as a confirmation and
now combined disclosure statement and confirmation hearing
date, March 20th.

MR. MCDERMOTT: Okay.

THE COURT: Is that your understanding too, or --

MR. MCDERMOTT: I had --

THE COURT: Ms. Li has told me March 20th is free.

MR. MCDERMOTT: Okay. We had not, but we're happy to
take it, Your Honor.

THE COURT: Okay. And given the timing, I think
probably noon on the 17th would be the date for objections.

MR. MCDERMOTT: Okay.

THE COURT: And also ballots. Because I think that --
again, I think that Lapidem and Mascini will be casting a
ballot. That's the only way they can carry that class. And I
think a ballot should go to Mr. Lynch also.

MR. MCDERMOTT: That's fair, although I think I say in
there -- and I can do a ballot -- but word something. I can
put that in there, so --

THE COURT: Okay. All right.

MR. MCDERMOTT: When would Your Honor like a brief?
And we are -- we are going to prepare a declaration from Mr.

Deitz. And I assume, consistent with what we've experienced

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with Your Honor before, that you prefer affirmative evidence by
way of declaration?

THE COURT: Yes. Also on the 17th.

MR. MCDERMOTT: Okay.

THE COURT: So does anyone have anything more to say
on this motion?

Okay. I'll grant the motion as modified. It's clear,
as I said earlier, from the motion as well as the motion to
shorten time, that the debtor here is under time pressure
caused largely by a scheduled ruling that may come out in mid-
April that would affect its sole asset.

It's also clear that this is a relatively simple
capital structure, maybe not even using the word "relatively".
It is a simple capital structure with very sophisticated
parties who are creditors and the interest-holders.

Further, the creditors are proposed to be unimpaired
under the plan, and it is clear from the record of this case
that the plan proponents, wearing their hats as interest-
holders, would carry the interest-holder class.

In light of all of those circumstances, it appears
clear to me that this is one of those rare situations where the
Court may, notwithstanding that this is not a small business
plan, combine the hearing on a disclosure statement and
confirmation of a plan under 11 U.S.C. 105(d) (2) (B) (vi).

As discussed by Collier, the leading treatise on

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bankruptcy, the Court does have authority to do that, even ina
case that is not a small business case, where there's specific
authority in 1125 to do it. See 7 Collier on Bankruptcy,
paragraph 1125.032(c), which discusses the In re General Growth
Properties, Inc. case, which is cited therein as well as in the
In re Luminent Capital Mortgage case, which is cited therein.
The General Growth case and the Luminent case are not published
opinions, but the record is clear in them, and Judge Gropper in
the General Growth Properties case, discussed this a fair
amount on the record and permitted a combination of the
hearings in that case.

There is a case by Judge Bernstein, In re Amster Yard
Associates, 214 B.R. 122 (Bankr. S.D.N.Y. 1997), where Judge
Bernstein declined to combine the two hearings, given the
nature of that case. But he noted in footnote 5 of that
opinion that there may be instances where it would be
appropriate to do so.

I have done so on small business cases from time to
time where there were facts that warranted it. I am doing that
because I believe notwithstanding the motion's request to
forego any disclosure statement, the plan proponents are
required to have one, given that they are soliciting -- well,
that they would need to solicit votes on the plan, given that
not all classes are either unimpaired or receiving no property

under the plan, and therefore deemed to reject the plan under

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Section 1126 of the Bankruptcy Code.

It's clearly the case, I believe, that where there is
no one entitled to vote on a plan, even though they may object
to the plan, there's no need for a disclosure statement, based
in part on the authorities cited in the motion and the plain
language of Section 1125(a), which refers to the purpose of the
disclosure statement, which is to -- is a requirement to
soliciting votes on a plan. Obviously if there are no votes to
be solicited, then one has to question why there's a need for a
disclosure statement. See In re Colony Properties
International LLC, 2011 Bankr. LEXIS 3658 (Bankr. S.D. Ca,
September 9, 2011) and In re Union County Wholesale Tobacco and
Candy Co., Inc., 8 B.R. 442 (Bankr. D.N.J. 1981). See also In
re Mid-Towne Associates 1994 U.S. App. LEXIS 24565 (6th Cir.,
September 8, 1994); In re Amster Yard Associates, 214 B.R. 124,
Note 5; and In re Stanley Hotel, Inc., 13 B.R. 926, 929 (Bank.
D. Colo., 1981), each of which state the proposition in dicta.

Collier also recognizes the potential where a plan
will not need voting for there to be no need for a disclosure
statement; 7 Collier on Bankruptcy, paragraph 1125.02.

However, Collier recognizes in that paragraph that the
proposition is a narrow one. For example, if there's a dispute
over whether someone is unimpaired or not, it has been held
that there's a need for a disclosure statement. See In re

Forrest Hills Associates, 18 B.R. 104 (Bankr. D. Del. 1982).

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Moreover, it is clear that -- I believe at least,
under the case law, which is unanimous on this point, that if a
class is entitled to vote, there needs to be a disclosure
statement, even if the debtor is looking to cram down that
class, i.e., not looking to count its vote. And further, or
more generically, it is, I believe, also clear that where a
class is impaired and entitled to vote, the parties in the case
can't simply agree that a disclosure statement is unnecessary,
or in light of the cost, is not required.

For the former proposition, see In re Transload and
Transport, Inc., 61 B.R. 379 (Bankr. M.D. La., 1986); In re
Feldman, 53 B.R. 355 (Bankr. S.D.N.Y. 1985); and In re Rail
King, Inc., 33 B.R. 4 (Bankr. N.D. Ohio, 1983). For the latter
proposition, see In re Northwest Recreational Activities, Inc.,
8 B.R. 10 (Bankr. N.D. Ga. 1980), a Judge Norton opinion.

So I think a disclosure statement is technically
required. However, again, as recognized by Collier, a
disclosure statement may be in the -- or the plan itself may
serve as the disclosure statement, i.e., the Bankruptcy Code
does not require that a plan of reorganization and a disclosure
statement be separate documents; 7 Collier on Bankruptcy
1125.031. See also In re Bel Air Associates, 4 B.R. 168, 175
(Bankr. W.D.Ok1l. 1980).

Here, as I noted, and as Judge Norton noted in the

Northwest Recreational Activities, Inc. case that I previously

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cited, there really isn't much reason for a disclosure
Statement. This is not the type of case where a disclosure
statement will be particularly informative to anybody, and in
particular to Mr. Lynch, the only voting party besides the two
plan proponents.

And accordingly, I believe that in addition to
collapsing the hearing on the disclosure statement's adequacy
with the confirmation hearing, one could have the same document
be the disclosure statement and the plan, although as a heads
up, I've suggested two or three areas where the petitioning
creditors/plan proponents may want to add a little more
language to the plan so that there wouldn't be much of an
issue, at least on my preliminary review, of the plan also
passing muster as the disclosure statement.

It is only under 1125(e) also, that there is that type
of exculpation in addition to any exculpation that the Court
might order as part of a confirmation order. Although, of
course, this isn't a public company, it's a point worth noting.

So I'il look for the order granting the motion, to the
extent set forth on the record today, and also authorizing
there to be a combined plan and disclosure statement and a
combined hearing on approval of the disclosure statement and
confirmation of the plan.

Did anyone have any comments on the bar date motion?

Okay, I will grant that motion also. So you can email

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that order to chambers, Mr. McDermott.

MR. MCDERMOTT: I'll be happy to do that. A couple of
smaller things. One item I am going to include in the
procedures motion is some language requiring confidentiality
with respect to the updates that we're going to be providing to
Mr. Lynch via email.

THE COURT: The sale -- the sale or other transaction
updates?

MR. MCDERMOTT: Exactly.

THE COURT: Okay.

MR. MCDERMOTT: I will also include a form of ballot,
which obviously wasn't part of the order that we submitted. I
will endeavor to get that to chambers later today. But again,
I will send these to Mr. Lynch's email as a courtesy to him.
And there's a chance I might let it slip till tomorrow morning,
but I just wanted to give the Court at least that heads up on
that.

THE COURT: Okay. Well, we'll be looking for that,
and it'll get entered promptly. And again, as I've said now
two or three times, the original plan's been on file since the
15th of February.

MR. MCDERMOTT: Yes.

THE COURT: Mr. Lynch is fully informed of that or
certainly could easily get a copy off of the court's ECF. And

I do not believe that the full twenty-eight days is, therefore,

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necessary for the confirmation hearing.

MR. MCDERMOTT: Yeah, when we served it, too, he had
counsel, and we of course sent it then.

I will also put in the order, if it's okay with Your
Honor, that we will endeavor to file and serve the amended and
restated plan and disclosure statement by Wednesday. I want to
give myself at least the little bit of time here to beef it up,
if that's okay with the Court?

THE COURT: That's fine. And again, it's going to be
served by email, so it'll be instantaneous.

MR. MCDERMOTT: It will be. Last point which is a
question. We had, in the bar date motion, requested the 24th
of March. Would it be possible to make it coterminous with the
confirmation hearing, March 20th?

THE COURT: Yes, if -- again, if the notice of the bar
date goes out on Wednesday.

MR. MCDERMOTT: That I think we can get out either
today or tomorrow.

THE COURT: Okay, that's fine.

MR. MCDERMOTT: I don't believe we have anything
further from our side, Your Honor.

THE COURT: Okay. Does anyone else have anything to
say on the case?

All right. So I'll see you all on the 20th, then.

MR. MCDERMOTT: Thank you, Your Honor.

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THE COURT: Okay, thanks.
MR. MCDERMOTT: Bye.

(Whereupon these proceedings were concluded at 10:46 AM)

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CERTIFICATION

I, Penina Wolicki, certify that the foregoing transcript is a

true and accurate record of the proceedings.

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Penina Wolicki (CET-569)

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